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                        ATTACHMENT 10

           FTI DTDF February 2007 Monthly Statement
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March 26, 2007



USA Commercial Mortgage Company
4484 South Pecos Road
Las Vegas, NV 89121

Attention:        LeAnn Weese, Controller

RE:      FTI Consulting, Inc. (“FTI”), February 2007 Monthly Statement
         USA Commercial Mortgage Company, et al; Jointly Administered under Case No. BK-S-06-10725 LBR

Enclosed please find FTI Consulting, Inc.’s monthly statement for professionals fees for services rendered and
reimbursement of expenses incurred as Financial Advisors for the Official Committee of Equity Security Holders of
USA Capital Diversified Trust Deed Fund, LLC for the period February 1, 2007 through February 28, 2007.

Copies of this monthly statement have been mailed to all parties listed on the attached distribution list.

If you should have any questions regarding our monthly statement, please do not hesitate to call Chas Harvick at
602.744.7186 or me at 602.744.7144.

Sincerely,




Michael A. Tucker
Senior Managing Director

Enclosures
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DISTRIBUTION:

Debtor
         LeAnn Weese, USA Commercial Mortgage Company
         Susan M. Smith, Mesirow Financial, Inc.

Debtor’s Counsel
        Annette W. Jarvis, Esq., Ray Quinney & Nebeker P.C.
        Lenard E. Schwartzer, Esq., Schwartzer & McPherson Law Firm

Counsel for Official Committee of Unsecured Creditors of USA Commercial Mortgage Company
        Susan M. Freeman, Esq., Lewis and Roca, LLP
        Rob Charles, Esq., Lewis and Roca, LLP

Counsel for Official Committee of Holders of Executory Contract Rights of USA Commercial Mortgage Company
        Gerald M. Gordon, Esq., Gordon & Silver, LTD.
        Gregory E. Garman, Esq., Gordon & Silver, LTD.

Counsel for Official Committee of Equity Security Holders of USA Capital Diversified Trust Deed Fund, LLC
        Marc A. Levinson, Esq., Orrick, Herrington & Sutcliffe LLP
        Anne M. Loraditch, Esq., Beckley Singleton CHTD.

Counsel for Official Committee of Equity Security Holders of USA Capital First Trust Deed Fund, LLC
        Frank A. Merola, Esq., Stutman Treister & Glatt, P.C.
        Eve H. Karasik, Esq., Stutman Treister & Glatt, P.C.

Office of the U.S. Trustee – District of Nevada
         August B. Landis, Assistant United States
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                                                                                FTI Consulting, Inc.
                                                                               Two North Central Avenue
                                                                               Suite 1200
                                                                               Phoenix, Arizona 85004

                                                                               602.744.7100 Telephone
                                                                               602.744.7110 Facsimile




RE:     USA Commercial Mortgage Company
        USA Capital Diversified Trust Deed Fund, LLC
        USA Capital First Trust Deed Fund, LLC
        USA Capital Realty Advisors, LLC
        USA Securities, LLC

        Jointly Administered under Case No. BK-S-06-10725-LBR

Date:   March 26, 2007


        Debtor Entity – USA Capital Diversified Trust Deed Fund, LLC

For professional services rendered from February 1, 2007 through February 28, 2007.

Total Current Fees                                                                     $   256,191.50
Total Current Expenses                                                                       9,505.34

Total Current Fees and Expenses                                                        $   265,696.84

Eighty Percent of Total Current Fees                                                    $ 204,953.20
One Hundred Percent of Total Current Expenses                                               9,505.34

Total Amount Due this Statement                                                        $   214,458.54


SEE DETAIL ATTACHED.



                   PLEASE REMIT PAYMENT TO:
                     Bank of America                      FTI Consulting, Inc.
                     ABA #026009593                       P.O. Box 631916
                     In favour of:                        Baltimore, MD 21263-1916
                     FTI Consulting, Inc.                 FED ID#XX-XXXXXXX
                     Account #003939577164


NOTE: There may be expenses that were incurred during this billing cycle that are not reflected in this
monthly statement but will appear in subsequent monthly statements because of the unavoidable delay in
posting some disbursements.
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                          USA Capital Diversified Trust Deed Fund
                                     Summary Exhibit A
                               Total Hours, Fees and Expenses
                         For the Period of 2/1/2007 through 2/28/2007
Consultant       Level                  Hours            Rate        Fees    Expenses       Total

Tucker, M.       Sr. Managing Dir.      183.9      $525         96,547.50    1,712.45   98,259.95

Belt, D.         Managing Director      153.2      $475         72,770.00    1,489.38   74,259.38

Bilbrey, R.      Managing Director          0.6    $495            297.00        0.00      297.00

Harvick, C.      Director               189.3      $425         80,452.50    1,617.83   82,070.33

Schwartz, J.     Senior Consultant         13.6    $325          4,420.00        0.00    4,420.00

Peterson, L.     Senior Consultant          1.7    $325            552.50        0.00      552.50

Smith, S.        Paraprofessional           9.6     $95            912.00        0.00      912.00

Evans, J.        Assistant                  4.8     $50            240.00        0.00      240.00

Administration   Admininstrative            0.0          $0          0.00    4,685.68    4,685.68

Grand Total                              556.7                $256,191.50   $9,505.34 $265,696.84




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                            USA Capital Diversified Trust Deed Fund
                                      Summary Exhibit B
                      Time Charges Incurred by Professional by Activity Code
                          For the Period of 2/1/2007 through 2/28/2007
Consultant                                                                Hours                Fees
Asset Analysis and Recovery
     Belt, D.                                                               46.6           22,135.00
     Evans, J.                                                               4.8             240.00
     Harvick, C.                                                            99.0           42,075.00
     Peterson, L.                                                            0.7              227.50
     Schwartz, J.                                                            6.1            1,982.50
     Tucker, M.                                                             70.2           36,855.00

     Total for Asset Analysis and Recovery:                                227.4          103,515.00


Asset Sale
     Tucker, M.                                                              7.6            3,990.00

     Total for Asset Sale:                                                   7.6            3,990.00


Case Administration
     Harvick, C.                                                             0.7             297.50

     Total for Case Administration:                                          0.7             297.50


Claims Administration and Objections
     Tucker, M.                                                              0.5             262.50

     Total for Claims Administration and Objections:                         0.5             262.50


Collection Account Distributions and Related Disputes
     Belt, D.                                                                3.8            1,805.00
     Harvick, C.                                                             1.7              722.50
     Peterson, L.                                                            0.8             260.00
     Tucker, M.                                                             10.5            5,512.50

     Total for Collection Account Distributions and Related Disputes:       16.8            8,300.00


Court Hearings
     Tucker, M.                                                              9.4            4,935.00

     Total for Court Hearings:                                               9.4            4,935.00


Employment/Fee Applications
     Harvick, C.                                                             2.7            1,147.50
     Schwartz, J.                                                            2.7              877.50
     Smith, S.                                                               9.6             912.00
     Tucker, M.                                                              1.1             577.50

     Total for Employment/Fee Applications:                                 16.1            3,514.50



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Consultant                                                             Hours                Fees
Financing
     Harvick, C.                                                          0.6              255.00
     Tucker, M.                                                           0.5              262.50

     Total for Financing:                                                 1.1              517.50


IP/10-90/Ashby Recovery
     Belt, D.                                                            73.5           34,912.50
     Harvick, C.                                                         17.2            7,310.00
     Peterson, L.                                                         0.2               65.00
     Schwartz, J.                                                         2.8              910.00
     Tucker, M.                                                          36.0           18,900.00

     Total for IP/10-90/Ashby Recovery:                                 129.7           62,097.50


Meetings & Communications with Diversified Committee
     Harvick, C.                                                          3.2            1,360.00
     Tucker, M.                                                           2.4            1,260.00

     Total for Meetings & Communications with Diversified Committee:      5.6            2,620.00


Plan and Other Restructure Related Work
     Belt, D.                                                            29.3           13,917.50
     Bilbrey, R.                                                          0.6              297.00
     Harvick, C.                                                         64.2           27,285.00
     Schwartz, J.                                                         2.0              650.00
     Tucker, M.                                                          45.7           23,992.50

     Total for Plan and Other Restructure Related Work:                 141.8           66,142.00


Grand Total                                                             556.7        $256,191.50




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                              USA Capital Diversified Trust Deed Fund
                                        Summary Exhibit C
                          Detailed Time Charges Incurred by Activity Code
                         For the Period of 2/1/2007 through 2/28/2007
Date       Consultant        Description                                              Hours        Fees

Asset Analysis and Recovery
2/1/2007   Belt, D.          Review Colt Gateway loan funding analysis prepared         3.8     1,805.00
                             by Mesirow and discuss findings with M. Tucker and
                             C. Harvick including preparation of preliminary loan
                             participation analysis.

2/1/2007   Harvick, C.       Call with B. Koe and J. Reed to discuss Colt payoff        0.7      297.50
                             offer and related issues.

2/1/2007   Harvick, C.       Prepare analysis of Colt Gateway fundings,                 3.8     1,615.00
                             payments, outstanding balances and scenarios or
                             loan representations. Discuss same with M. Tucker
                             and D. Belt.

2/1/2007   Harvick, C.       Review of Colt loan files (loan documents,                 2.8     1,190.00
                             correspondence, etc.) data provided by Colt Gateway
                             (financials, audits, correspondence etc.), loan
                             summaries provided by Mesirow at petition date and
                             after loan reconciliation.

2/1/2007   Harvick, C.       Call with A. Tsu requesting search results pertaining      0.2       85.00
                             to Colt.

2/1/2007   Tucker, M.        Review Tree Moss documents                                 1.1      577.50

2/1/2007   Tucker, M.        Discuss analysis of Colt Gateway fundings, payments,       3.8     1,995.00
                             outstanding balances and scenarios or loan
                             representations with C. Harvick and D. Belt.

2/1/2007   Tucker, M.        Review Colt documents including limited HFAH               3.1     1,627.50
                             documents produced, cash tracing, other pleadings
                             filed in relief from stay and other documents.

2/1/2007   Tucker, M.        Review HMA Sales.                                          1.4      735.00

2/2/2007   Belt, D.          Prepare final draft of Colt Gateway loan participation     3.7     1,757.50
                             analysis and distribute to team.

2/2/2007   Belt, D.          Review additional Colt Gateway loan documents              1.2      570.00
                             received and incorporate into loan participation
                             analysis.

2/2/2007   Belt, D.          Prepare revised Colt Gateway loan participation            1.2      570.00
                             analysis based on chronological dates of fundings
                             and payments

2/2/2007   Harvick, C.       Call with M. Levinson and J. Hermann to discuss Tree       0.2       85.00
                             Moss hearing next week and what we need to do to
                             prepare.

2/2/2007   Tucker, M.        Start draft e-mail to T. Allison on issues regarding       1.2      630.00
                             payoff on Colt loans.

2/2/2007   Tucker, M.        Additional review of Colt documents and HFAH               1.6      840.00
                             accountant reports.



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Date       Consultant     Description                                               Hours       Fees

Asset Analysis and Recovery
2/3/2007   Tucker, M.     Review and analysis of Trustee's revised bidding            0.8      420.00
                          procedures in Tree Moss.

2/3/2007   Tucker, M.     Conference call with J. Hermann and M. Levinson             0.9      472.50
                          regarding Colt loan collection issues.

2/3/2007   Tucker, M.     Conference with J. Hermann regarding Tree Moss              0.3      157.50
                          revised bidding procedures from Trustee.

2/4/2007   Harvick, C.    Review and comment on e-mail to Debtor regarding            0.2       85.00
                          Colt payoff.

2/4/2007   Harvick, C.    Review Tree Moss bid procedures and related e-mails.        0.3      127.50

2/5/2007   Harvick, C.    Review Sunterra's objection to Tree Moss bid                0.3      127.50
                          procedures.

2/5/2007   Harvick, C.    Review and comment on Response of Diversified               0.5      212.50
                          Trust Deed Fund to Trustee's revised bidding
                          procedures for Tree Moss.

2/5/2007   Harvick, C.    Call with S. Smith to discuss Colt loans and                1.7      722.50
                          participation analysis prepared by FTI, discuss same
                          with M. Tucker and coordinate a conference call.

2/5/2007   Harvick, C.    Review Colt loan funding and payment analysis and           0.5      212.50
                          comment on same.

2/5/2007   Harvick, C.    Review of Tabas and Fertitta 2004 Orders of USA             0.2       85.00
                          Commercial Mortgage and Mesirow regarding Colt
                          and e-mails regarding same.

2/5/2007   Harvick, C.    Participate in call with B. Koe regarding the payoff of     0.3      127.50
                          Colt.

2/5/2007   Tucker, M.     Revise e-mail memo to T. Allison regarding Colt loan        1.0      525.00
                          issues and payoff issues.

2/5/2007   Tucker, M.     Review e-mails on status of B. Russell loan payoffs -       0.2      105.00
                          Franklin-Stratford and ICC II.

2/5/2007   Tucker, M.     Review and draft response to Trustee's revised bid          1.4      735.00
                          procedures; several discussions with M. Levinson, J.
                          Hermann and A. Loraditch.

2/5/2007   Tucker, M.     Review Sunterra objections to Trustee bid                   1.2      630.00
                          procedures; draft e-mail to Diversified Trust Deed
                          Fund team on same including operating budget.

2/5/2007   Tucker, M.     Review Debtors opposition to Colts relief from stay.        0.2      105.00

2/5/2007   Tucker, M.     Discuss Colt loans and participation analysis with C.       0.8      420.00
                          Harvick.

2/6/2007   Belt, D.       Participate in conference call with T. Allison, R. Koe,     0.9      427.50
                          S. Smith, A. Jarvis, K. Glade, C. Harvick, M. Tucker,
                          M. Levinson, J. Hermann regarding Colt collection
                          and negotiation issues.

2/6/2007   Belt, D.       Follow-up conference call regarding Colt Gateway            0.8      380.00
                          with Diversified Trust Deed Fund counsel.




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Date       Consultant     Description                                               Hours       Fees

Asset Analysis and Recovery
2/6/2007   Belt, D.       Conference call with Diversified Trust Deed Fund            0.8      380.00
                          counsel, debtor CRO and debtor counsel regarding
                          Colt Gateway loan payoff negotiations.

2/6/2007   Belt, D.       Review additional Colt Gateway loan documents               1.8      855.00
                          received and prepare for conference call with Liberty
                          Bank attorneys regarding motion to intervene.

2/6/2007   Belt, D.       Participate in call with Mesirow personnel and              1.0      475.00
                          Diversified Trust Deed Fund counsel regarding
                          settlement discussions with Colt Gateway managers.

2/6/2007   Harvick, C.    Review opposition motion for relief from stay filed by      0.3      127.50
                          Tabas and Fertitta.

2/6/2007   Harvick, C.    Review amended Tree Moss bid procedures.                    0.4      170.00

2/6/2007   Harvick, C.    Participate in conference call with T. Allison, R. Koe,     0.9      382.50
                          S. Smith, A. Jarvis, K. Glade, M. Tucker, D. Belt, M.
                          Levinson, J. Hermann regarding Colt collection and
                          negotiation issues.

2/6/2007   Harvick, C.    Discuss nature of detail needed to document various         0.2       85.00
                          loans with J. Schwartz.

2/6/2007   Harvick, C.    Review Colt Gateway Audited financial statements for        0.4      170.00
                          2003 and 2004.

2/6/2007   Harvick, C.    Review Diversified Trust Deed Fund loan summary for         0.2       85.00
                          December and send for posting on Diversified Trust
                          Deed Fund website.

2/6/2007   Harvick, C.    Review Tree Moss Trustee's memorandum in support            0.3      127.50
                          of revised bid and sale procedures.

2/6/2007   Harvick, C.    Review BySynergy 2004 application and draft e-mail          0.5      212.50
                          to M. Zito as a follow-up to our discussion today.

2/6/2007   Harvick, C.    Review additional BySynergy documents provided by           1.5      637.50
                          USA Commercial Mortgage, update BySynergy Loan
                          Summary, call BySynergy and discuss project and
                          production of documents with M. Zito. Discuss same
                          with M. Tucker.

2/6/2007   Harvick, C.    Review of Diversified Trust Deed Fund's opposition to       0.2       85.00
                          Investors VI's amended motion to dismiss involuntary
                          case.

2/6/2007   Harvick, C.    Prepare for and participate in call with Debtor             1.1      467.50
                          professionals, Orrick and FTI to discuss Colt
                          negotiations and FTI participation analysis.

2/6/2007   Schwartz, J.   Discuss nature of detail needed to document various         0.2       65.00
                          loans with C. Harvick.

2/6/2007   Tucker, M.     Review comments to Investors VI response to motion          0.2      105.00
                          to dismiss.

2/6/2007   Tucker, M.     Participate in conference call with T. Allison, R. Koe,     0.9      472.50
                          S. Smith, A. Jarvis, K. Glade, C. Harvick, D. Belt, M.
                          Levinson, J. Hermann regarding Colt collection and
                          negotiation issues.



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Date       Consultant     Description                                                  Hours       Fees

Asset Analysis and Recovery
2/6/2007   Tucker, M.     Conference with S. Varner and K. Maib of Sunterra              0.3      157.50
                          regarding Tree Moss sale.

2/6/2007   Tucker, M.     Participate in conference call with T. Allison, A. Jarvis,     0.5      262.50
                          R. Charles , J. Bermann, J. Hermann and M. Levinson
                          regarding Tree Moss asset sale.

2/6/2007   Tucker, M.     Participate in conference call with T. Allison, A. Jarvis,     0.5      262.50
                          R. Charles , J. Bermann, J. Hermann and M. Levinson
                          regarding Colt collections.

2/6/2007   Tucker, M.     Discuss status of BySynergy document production                0.5      262.50
                          and related review of loan documents with C. Harvick.

2/6/2007   Tucker, M.     Participate in conference call with A. Jarvis, M.              0.9      472.50
                          Levinson and J. Hermann regarding Colt collection
                          issues.

2/7/2007   Belt, D.       Call with K. Conner regarding transfer of VisualFast           1.2      570.00
                          license agreement to post effective Diversified Trust
                          Deed Fund.

2/7/2007   Belt, D.       Review revised bid procedures, declaration filed by            0.8      380.00
                          Tree Moss trustee and Wolfe Capital purchase
                          agreement.

2/7/2007   Harvick, C.    Review Diversified Trust Deed Fund general ledger              1.5      637.50
                          detail and USA Securities and USA Capital Realty
                          Advisors financials and general ledger data and
                          discuss same with L. Weese.

2/7/2007   Schwartz, J.   Arrange for M. Tucker to participate in court hearing          0.5      162.50
                          on Tree Moss. Place calls to attorney's office and
                          Nevada Bankruptcy Court.

2/7/2007   Tucker, M.     Conference with Trustee, A. Zmalia, M. Levinson and            1.0      525.00
                          J. Hermann on Tree Moss bidding procedures hearing.

2/7/2007   Tucker, M.     Review and analyze additional bidding motions, draft           2.9    1,522.50
                          sale contract, research Wolfe Capital and other
                          potential bidders and bidding issues on Tree Moss
                          sale.

2/7/2007   Tucker, M.     Conference with K. Maib of Sunterra regarding Tree             0.3      157.50
                          Moss property.

2/7/2007   Tucker, M.     Discuss lease assumption issues and Tree Moss                  0.3      157.50
                          bidding hearing with M. Levinson.

2/7/2007   Tucker, M.     Review several e-mails related to Colt depositions by          0.2      105.00
                          T. Bullard and responses to motion to terminate
                          servicing.

2/7/2007   Tucker, M.     Several discussions on Tree Moss bidding motions               0.9      472.50
                          and hearing strategy with J. Hermann and M.
                          Levinson.

2/7/2007   Tucker, M.     Review HFAH financial statements for Colt issues and           0.6      315.00
                          send e-mail to T. Allison regarding same.

2/8/2007   Belt, D.       Review revised pre-petition USA Commercial                     0.8      380.00
                          Mortgage cash analysis and provide comments to M.
                          Tucker.


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Date       Consultant     Description                                               Hours       Fees

Asset Analysis and Recovery
2/8/2007   Evans, J.      Document organization of loan and related files.            0.6       30.00

2/8/2007   Harvick, C.    Call with A. Loraditch to discuss Diversified Trust         0.1       42.50
                          Deed Fund's calendar and Beadle McBride 2004.

2/8/2007   Harvick, C.    Review Tree Moss ground lease.                              0.1       42.50

2/8/2007   Harvick, C.    Discussion with Michael Zito regarding the production       0.2       85.00
                          of documents and coordinate meeting on Saturday.

2/8/2007   Harvick, C.    Review Tree Moss filings (order for relief, meeting of      0.3      127.50
                          creditors, etc).

2/8/2007   Harvick, C.    Discuss Colt term sheet with M. Tucker.                     0.1       42.50

2/8/2007   Harvick, C.    Discussion with M. Tucker regarding BySynergy               0.4      170.00
                          status, Tree Moss status and selection of Orrick
                          litigators.

2/8/2007   Harvick, C.    Review financials provided by Wolfe Capital and             0.4      170.00
                          related e-mails.

2/8/2007   Peterson, L.   Updated Diversified Trust Deed Fund post petition           0.5      162.50
                          collection schedule with cash collections for the week
                          ending 2/2/07.

2/8/2007   Tucker, M.     Discuss Colt term sheet with C. Harvick.                    0.1       52.50

2/8/2007   Tucker, M.     Review Wolfe Capital financial statements and send          0.3      157.50
                          reply to T. Zmalia regarding Tree Moss sale.

2/8/2007   Tucker, M.     Review e-mails and impact of Rio Rancho settlement          0.4      210.00
                          with B. Russell.

2/9/2007   Belt, D.       Discuss Colt negotiation with C. Harvick and review         0.2       95.00
                          analysis provided by J. Reed.

2/9/2007   Belt, D.       Review revised Colt loan analysis received from             1.7      807.50
                          Mesirow, call with J. Reed and B. Koe re same and
                          calls with Diversified Trust Deed Fund counsel
                          regarding potential acceptance of settlement by T.
                          Allison including review of proposed e-mail response
                          communicating our opposition to acceptance of
                          settlement offer.

2/9/2007   Belt, D.       Call with J. Hermann, M. Levinson and C. Harvick to         0.4      190.00
                          discuss current events with Colt, HMA Sales and
                          BySynergy.

2/9/2007   Belt, D.       Participate in call with B. Koe, J. Reed and C. Harvick     0.2       95.00
                          to discuss Colt settlement.

2/9/2007   Harvick, C.    Participate in call with B. Koe, J. Reed and D. Belt to     0.2       85.00
                          discuss Colt settlement..

2/9/2007   Harvick, C.    Call with M. Zito and Review of BySynergy loan              0.3      127.50
                          documents (M&I and USA Commercial Mortgage)
                          provided by M. Zito.

2/9/2007   Harvick, C.    Discussion with M. Tucker regarding Colt loan               0.2       85.00
                          schedules and his discussion with Mesirow.

2/9/2007   Harvick, C.    Call BIA to request Tree Moss lease file.                   0.1       42.50


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Date        Consultant    Description                                               Hours       Fees

Asset Analysis and Recovery
2/9/2007    Harvick, C.   Discuss Colt negotiation with D. Belt and review            0.2       85.00
                          analysis provided by J. Reed.

2/9/2007    Harvick, C.   Review M&I and USA Commercial Mortgage                      1.1      467.50
                          documents provided by M. Zito.

2/9/2007    Harvick, C.   Call with J. Herman, M. Levinson and D. Belt to             0.4      170.00
                          discuss current events with Colt, HMA Sales and
                          BySynergy.

2/9/2007    Harvick, C.   Review Colt response sent by M. Levinson and                0.2       85.00
                          discuss same with M. Levinson.

2/9/2007    Harvick, C.   Update BySynergy Recovery Memo.                             0.2       85.00

2/9/2007    Harvick, C.   Discuss discovery process for BySynergy and                 0.1       42.50
                          Saturday's meeting with A. Loraditch.

2/9/2007    Harvick, C.   Request Diversified Trust Deed Fund UCC filings from        0.1       42.50
                          Debtor.

2/9/2007    Harvick, C.   Continue review of BySynergy documents produced             1.2      510.00
                          by M. Zito.

2/9/2007    Harvick, C.   Prepare for meeting with M. Zito.                           0.5      212.50

2/9/2007    Tucker, M.    Review and respond to various e-mails on status of          0.6      315.00
                          Colt loan collections, litigation issues and deposition
                          by Bullard of Colt.

2/9/2007    Tucker, M.    Discussion with C. Harvick regarding Colt loan              0.2      105.00
                          schedules and his discussion with Mesirow.

2/10/2007   Harvick, C.   Non-working travel from Sedona and meeting with M.          1.5      637.50
                          Zito.

2/10/2007   Harvick, C.   Meeting with M. Zito of BySynergy to discuss                1.7      722.50
                          Diversified Trust Deed Fund loan, project status,
                          document request etc.

2/10/2007   Harvick, C.   Non-working travel to Sedona, AZ for meeting with M.        1.5      637.50
                          Zito,

2/12/2007   Belt, D.      Meet with C. Harvick and M. Tucker to discuss Colt          1.7      807.50
                          and BySynergy documents and organization.

2/12/2007   Belt, D.      Review USA Commercial Mortgage general ledger               0.9      427.50
                          activity to determine treatment of Colt Gateway loans.

2/12/2007   Harvick, C.   Call with M. Levinson and A. Loraditch (separate) to        0.5      212.50
                          discuss rescheduling the BySynergy 2004 exam

2/12/2007   Harvick, C.   Continue to review BySynergy documents and                  1.0      425.00
                          prepare and send e-mail to M. Zito requesting
                          additional documents and extending the date for 2004
                          exam.

2/12/2007   Harvick, C.   Call with M. Levinson J. Hermann and A. Loraditch to        0.6      255.00
                          discuss BySynergy meeting and 2004 exam, Beadle
                          McBride 2004 exam and scheduling.

2/12/2007   Harvick, C.   Meet with D. Belt and M. Tucker to discuss Colt and         1.7      722.50
                          BySynergy documents and organization.


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Date        Consultant    Description                                                  Hours       Fees

Asset Analysis and Recovery
2/12/2007   Harvick, C.   Review Tree Moss Ground Lease                                  0.6      255.00

2/12/2007   Harvick, C.   Review signed M&I loan documents and other project             1.8      765.00
                          documents provided by M. Zito of BySynergy.

2/12/2007   Harvick, C.   Prepare e-mail requesting communication with the               0.3      127.50
                          borrowers for Diversified Trust Deed Fund serviced
                          loans.

2/12/2007   Tucker, M.    Meet with D. Belt and C. Harvick to discuss Colt and           1.7      892.50
                          BySynergy documents and organization.

2/12/2007   Tucker, M.    Review response to Debtors opposition to move                  0.3      157.50
                          servicing for Colt by Tabas and Bullard and J. Chubb
                          declaration.

2/13/2007   Belt, D.      Identify all supporting documents referred to in               1.4      665.00
                          "Evidence of Colt Loans vs Equity" analysis, scan
                          documents and forward to A. Jarvis per request.

2/13/2007   Belt, D.      Revise Colt loan participation analysis based on               1.8      855.00
                          review of USA Commercial Mortgage general ledger
                          activity.

2/13/2007   Belt, D.      Review all e-mail receipt of documents related to Colt         2.4    1,140.00
                          Gateway, compare to networked files and prepare for
                          discussion of settlement offer with all constituents
                          counsel.

2/13/2007   Belt, D.      Participate in conference call with A. Jarvis, T. Allison,     1.4      665.00
                          R. Charles, C. Harvick, M. Tucker, J. Hermann and M.
                          Levinson regarding status of Colt collections and
                          negotiations.

2/13/2007   Evans, J.     Scan and organize Colt documents, add to index.                0.6       30.00

2/13/2007   Evans, J.     Print and organize Colt documents.                             2.0      100.00

2/13/2007   Harvick, C.   Review Diversified Trust Deed Fund GL, financial               3.3    1,402.50
                          statements and bank records to better understand the
                          recording of the Colt Loan. Discuss same with D. Belt
                          and send findings to USA Commercial Mortgage and
                          Diversified Trust Deed Fund professionals.

2/13/2007   Harvick, C.   Call with L. Weese and S. Smith to discuss the I-              0.4      170.00
                          Tracks system and what past data is available for Colt.

2/13/2007   Harvick, C.   Participate in conference call with A. Jarvis, T. Allison,     1.4      595.00
                          R. Charles, M. Tucker, D. Belt, J. Hermann and M.
                          Levinson regarding status of Colt collections and
                          negotiations.

2/13/2007   Harvick, C.   Review of D. Tabas Reply and supporting Declaration.           0.4      170.00

2/13/2007   Harvick, C.   Review BySynergy and Colt Loan History Binders                 0.5      212.50
                          prepared by S. Smith.

2/13/2007   Tucker, M.    Conference with K. Maib of Sunterra and M. Levinson            0.8      420.00
                          regarding Tree Moss sale.




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Date        Consultant     Description                                                  Hours       Fees

Asset Analysis and Recovery
2/13/2007   Tucker, M.     Participate in conference call with A. Jarvis, T. Allison,     1.4      735.00
                           R. Charles, C. Harvick, D. Belt, J. Hermann and M.
                           Levinson regarding status of Colt collections and
                           negotiations.

2/13/2007   Tucker, M.     Meet with A. Loraditch regarding her meeting with              0.6      315.00
                           Wolfe Capital and issues on Tree Moss Sale.

2/14/2007   Belt, D.       Conference calls with Diversified Trust Deed Fund              2.3    1,092.50
                           counsel and follow on call with B. Bullard, J. Chubb,
                           T. Allison, S. Smith and A. Jarvis regarding settlement
                           offer from Colt Gateway.

2/14/2007   Harvick, C.    Call with J. Reed and B. Koe to discuss Colt e-mails           0.5      212.50
                           regarding the Diversified Trust Deed Fund's financial
                           reporting of the Colt loans

2/14/2007   Harvick, C.    Conference calls with Diversified Trust Deed Fund              2.5    1,062.50
                           counsel and follow up on call with B. Bullard, J.
                           Chubb, T. Allison, A. Jarvis and S. Smith regarding
                           settlement offer from Colt Gateway.

2/14/2007   Harvick, C.    Review BySynergy Loan History Report and meet with             1.0      425.00
                           J. Schwartz to prepare analysis of the $9 million
                           payoff.

2/14/2007   Harvick, C.    Review of Colt Payoff analysis and analysis of                 0.6      255.00
                           different payoff scenarios.

2/14/2007   Harvick, C.    Call with M. Tucker to discuss Tree Moss and other             0.3      127.50
                           related parties.

2/14/2007   Harvick, C.    Calls with Diversified Trust Deed Fund counsel                 0.7      297.50
                           regarding Diversified Trust Deed Fund's strategy
                           moving forward and position regarding the settlement
                           offer from Colt Gateway.

2/14/2007   Harvick, C.    Call M. Zito of BySynergy.                                     0.1       42.50

2/14/2007   Harvick, C.    Prepare for and participate in call with M. Levinson, T.       1.3      552.50
                           Zamalia, M. Tucker, and B. Olson to discuss Tress
                           Moss sale and meeting with Wolfe Capital.

2/14/2007   Harvick, C.    Review original Promissory Note and discuss                    0.4      170.00
                           BySynergy Loan History Report with J. Schwartz

2/14/2007   Schwartz, J.   Discuss bySynergy Loan History Report with C.                  0.2       65.00
                           Harvick.

2/14/2007   Schwartz, J.   Create amortization schedule for BySynergy. Work               1.6      520.00
                           through various scenarios to achieve proposed
                           ending balance. Review issues with C. Harvick.

2/14/2007   Tucker, M.     Prepare for and conference with T. Zmalia, C.                  1.6      840.00
                           Harvick, M. Levinson and B. Olson regarding Tree
                           Moss sale and meeting with Wolfe Capital.

2/14/2007   Tucker, M.     Review Colt payoff statements and loan documents.              0.5      262.50

2/14/2007   Tucker, M.     Participate in conference call with Debtor, Bullard and        2.3    1,207.50
                           Diversified Trust Deed Fund professionals regarding
                           Colt settlement.



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Asset Analysis and Recovery
2/15/2007   Belt, D.       Review Mesirow prepared Colt Gateway loan balance           2.3    1,092.50
                           schedule as of 12/31/06, augment data with a
                           summary breakdown by lender and forward to
                           counsel for review and incorporation into pleading.

2/15/2007   Belt, D.       Review questions received from Y. Boyarin regarding         0.9      427.50
                           Colt Gateway loan balances and prepare response.

2/15/2007   Belt, D.       Revise Colt lender summary analysis.                        0.3      142.50

2/15/2007   Evans, J.      Organization of BySynergy documents.                        0.6       30.00

2/15/2007   Harvick, C.    Call with A. Stevens to discuss who the Project             0.2       85.00
                           Document Group was and their involvement with USA
                           Commercial Mortgage and what evidence we have
                           that PDG passed through money from Diversified
                           Trust Deed Fund to BySynergy.

2/15/2007   Harvick, C.    Coordinate the extension for BySynergy 2004 Exam.           0.3      127.50

2/15/2007   Harvick, C.    Call with M. Tucker to get a briefing on today's events     0.3      127.50
                           regarding Colt.

2/15/2007   Harvick, C.    Review BySynergy Loan History Report, Diversified           2.6    1,105.00
                           Trust Deed Fund bank statements and other support
                           documentation to verify payments to BySynergy.

2/15/2007   Harvick, C.    Call with M. Tucker to get a briefing on today's events     0.2       85.00
                           regarding Tree Moss.

2/15/2007   Harvick, C.    Review Colt Loan Summary and e-mail prepared by             0.5      212.50
                           D. Belt sent to Orrick. Discuss same with D. Belt.

2/15/2007   Peterson, L.   Review January loan summary and e-mail Debtor               0.2       65.00
                           requesting an Excel version.

2/15/2007   Tucker, M.     Meet with B. Olson and M. Levinson regarding                2.1    1,102.50
                           Diversified Trust Deed Fund follow up issues on Tree
                           Moss.

2/15/2007   Tucker, M.     Discuss Tree Moss hearing with C. Harvick and               0.2      105.00
                           determine follow up.

2/15/2007   Tucker, M.     Discuss USA Commercial Mortgage hearing with C.             0.3      157.50
                           Harvick regarding Colt issues.

2/16/2007   Belt, D.       Conference call with counsel regarding Colt loan            0.8      380.00
                           settlement discussions.

2/16/2007   Belt, D.       Conference call with counsel, M. Tucker and C.              0.8      380.00
                           Harvick regarding Colt loan strategy for recovery.

2/16/2007   Belt, D.       Review Colt appraisal report received from counsel          1.3      617.50
                           via T. Allison and compare to prior Mesirow prepared
                           parcel analysis.

2/16/2007   Belt, D.       Begin review of SEC documents copied and received           2.3    1,092.50
                           on CD media.

2/16/2007   Harvick, C.    Review of BySynergy Release of Deed and Project             1.2      510.00
                           Disbursement Group Report. Call with A. Stevens to
                           discuss same.



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Asset Analysis and Recovery
2/16/2007   Harvick, C.    Discuss Colt appraisal with M. Tucker.                        0.3      127.50

2/16/2007   Harvick, C.    Call with Project Disbursement Group manager to               0.3      127.50
                           request data regarding BySynergy.

2/16/2007   Harvick, C.    Review of Colt Appraisal and send comments                    0.5      212.50
                           regarding same.

2/16/2007   Harvick, C.    Review Imaged files of Diversified Trust Deed Fund            0.7      297.50
                           loan files and copy to network

2/16/2007   Harvick, C.    Review Restated Funding Agreement from Colt,                  1.3      552.50
                           prepare interest and payoff analysis based on terms
                           and send comments regarding same.

2/16/2007   Harvick, C.    Prepare for and participate in call with counsel, D. Belt     1.3      552.50
                           and M. Tucker regarding Colt loan strategy for
                           recovery.

2/16/2007   Harvick, C.    Participate in call with Diversified Trust Deed Fund          1.7      722.50
                           team to discuss the Colt and HFA issues and next
                           steps.

2/16/2007   Tucker, M.     Draft e-mail to T. Zmalia regarding information               0.6      315.00
                           received from T. Newman and additional information
                           needed on Tree Moss.

2/16/2007   Tucker, M.     Review BySynergy document production and cash in              0.3      157.50
                           PDG account.

2/16/2007   Tucker, M.     Prepare for and participate in conference call with           1.3      682.50
                           counsel, D. Belt and C. Harvick regarding Colt loan
                           strategy for recovery.

2/16/2007   Tucker, M.     Review proposed Colt order per Court hearing.                 0.4      210.00

2/16/2007   Tucker, M.     Review e-mail from T. Newman regarding Tree Moss              0.2      105.00
                           budget.

2/16/2007   Tucker, M.     Discuss Colt appraisal with C. Harvick.                       0.3      157.50

2/16/2007   Tucker, M.     Review Colt appraisal.                                        0.5      262.50

2/16/2007   Tucker, M.     Additional call with Diversified Trust Deed Fund team         1.7      892.50
                           regarding Colt settlement and related issues.

2/19/2007   Belt, D.       Identify various Colt loan analyses prepared by FTI           0.6      285.00
                           and document findings.

2/19/2007   Tucker, M.     Draft e-mail to T. Alison in response to Colt settlement      0.8      420.00
                           situation and proposal; discuss same with M.
                           Levinson.

2/20/2007   Harvick, C.    Meeting with Debtor and Diversified Trust Deed Fund           1.2      510.00
                           professionals to discuss Colt Settlement, review e-
                           mails regarding same and participate in call with J.
                           Chubb.

2/20/2007   Harvick, C.    Prepare payoff and sharing analysis for Colt and send         0.7      297.50
                           to Debtor and Diversified Trust Deed Fund Team.

2/20/2007   Schwartz, J.   Update BySynergy binder and begin to organize                 2.1      682.50
                           various HMA Sales documents received.


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Date        Consultant    Description                                              Hours       Fees

Asset Analysis and Recovery
2/20/2007   Tucker, M.    Meet with Diversified Trust Deed Fund team regarding       0.7      367.50
                          follow up from meeting with Wolfe Capital on sale
                          process.

2/20/2007   Tucker, M.    Draft e-mail to K. Maib of Sunterra regarding              0.1       52.50
                          Sunterra's interest to sell their units.

2/20/2007   Tucker, M.    Several conference calls with T. Alison, A. Jarvis, S.     3.3    1,732.50
                          Smith, M. Levinson and J. Hermann with B. Bullard
                          and J. Chubb regarding Colt potential settlements;
                          research documents; several discussion with USA
                          Commercial Mortgage and Diversified Trust Deed
                          Fund professionals.

2/20/2007   Tucker, M.    Prepare for and meet with Wolfe Capital, T. Zmalia         3.4    1,785.00
                          and A. Loraditch regarding potential Marquis Villas
                          purchase by Wolfe.

2/20/2007   Tucker, M.    Determine amount of Franklin-Stratford payoff.             0.1       52.50

2/21/2007   Belt, D.      Meet with C. Harvick to discuss transition meeting         0.4      190.00
                          with Debtor and current developments with Colt
                          Gateway.

2/21/2007   Belt, D.      Review operating reports for USA Capital Realty            0.8      380.00
                          Advisors, First Trust and Diversified Trust Deed Fund
                          filed by debtor; discuss same with C. Harvick.

2/21/2007   Harvick, C.   Review and respond to various e-mails regarding            0.6      255.00
                          Beadle McBride 2004 exam and production of
                          documents, Colt negotiations and HFA issues.

2/21/2007   Harvick, C.   Review of Beadle McBride and D. Fogg documents.            1.0      425.00

2/21/2007   Harvick, C.   Separate calls with A. Stevens, PDG and Kinkos to          0.4      170.00
                          get copies of BySynergy funding detail. Fill out and
                          fax form for Kinko charges.

2/21/2007   Harvick, C.   Meet with D. Belt to discuss transition meeting with       0.4      170.00
                          Debtor and current developments with Colt Gateway.

2/21/2007   Harvick, C.   Review of Ashby and other documents produced to            2.0      850.00
                          SEC by RQN, participate in call with J. Herman, M.
                          Levinson and M. Tucker to discuss recovery
                          strategies and litigation process for each loan and
                          resources needed to support such as effort.

2/21/2007   Tucker, M.    Review Colt 2004 drafts.                                   0.5      262.50

2/21/2007   Tucker, M.    Participate in conference call with J. Hermann, M.         1.4      735.00
                          Levinson and C. Harvick on recovery strategies and
                          litigation process for each loan and resources needed
                          to support such an effort.

2/22/2007   Belt, D.      Review HFA 2004 exam document request draft                1.3      617.50
                          received from J. Hermann and provide comments for
                          additional financial documents to request.

2/22/2007   Belt, D.      Review Colt Loan payoff analysis prepared by               0.6      285.00
                          Mesirow showing payoff of first and second lien
                          position loans.




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Asset Analysis and Recovery
2/22/2007   Harvick, C.    Review of Sheraton loan files and 2005 Judgment.            2.0      850.00
                           Research payments made on Judgment and send e-
                           mail to Debtor regarding same.

2/22/2007   Harvick, C.    Call with Kinkos and send payment authorization to          0.2       85.00
                           pay for copies of PDG's BySynergy payment support.

2/22/2007   Harvick, C.    Review and send e-mail regarding Debtor's research          0.1       42.50
                           of UCC filings.

2/22/2007   Harvick, C.    Call with BySynergy requesting documents.                   0.1       42.50

2/22/2007   Harvick, C.    Review of various e-mails regarding Colt settlement         0.8      340.00
                           and discuss same with M. Tucker.

2/22/2007   Tucker, M.     Discuss Colt settlement with C. Harvick.                    0.4      210.00

2/22/2007   Tucker, M.     Review various e-mails on allocation of $1.7 million        4.5    2,362.50
                           original fee to be paid by Colt; review loan documents
                           and discuss pay off situation with M. Levinson
                           including settlement offer to USA Commercial
                           Mortgage Committee; review settlement offer.

2/22/2007   Tucker, M.     Review operating data received on Tree Moss from            0.5      262.50
                           Trading Places.

2/23/2007   Belt, D.       Review various correspondence from Diversified Trust        0.3      142.50
                           Deed Fund counsel regarding Colt Gateway loan
                           settlement offer and reservation of rights on remaining
                           notes payable outstanding.

2/23/2007   Belt, D.       Review index of USA Commercial Mortgage                     1.2      570.00
                           documents received from Mesirow to identify items
                           relative to Colt loans or HMA Sales adversary
                           proceedings.

2/23/2007   Evans, J.      Replicating and creating CDs of documents produced          1.0       50.00
                           by RQN to SEC.

2/23/2007   Harvick, C.    Review OCR file of documents sent to SEC by RQN.            1.2      510.00
                           Coordinate copy of disk and sending to USA
                           Commercial Mortgage Trustee team.

2/23/2007   Harvick, C.    Review notes and prepare outstanding item list for          0.4      170.00
                           Tree Moss.

2/23/2007   Harvick, C.    Review of Sheraton Hotel litigation docket and              0.4      170.00
                           Judgment related pleadings.

2/23/2007   Schwartz, J.   Research judgment against Kinnon et al to determine         1.5      487.50
                           obligation owed and timing of funds received. Review
                           docket and select legal findings. Draft and send email
                           to C. Harvick to forward to company to aid in the
                           transition.

2/23/2007   Tucker, M.     Determine status of Colt settlements and letters to B.      1.4      735.00
                           Bullard and Tabas and Pallasades funding
                           commitment; review and respond to various e-mails.

2/23/2007   Tucker, M.     Review e-mails between M. Levinson and Sunterra.            0.2      105.00




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Date        Consultant    Description                                               Hours       Fees

Asset Analysis and Recovery
2/23/2007   Tucker, M.    Discuss transition, litigation and document issues with     0.3      157.50
                          M. Levinson regarding Tree Moss (and discuss with
                          Sunterra).

2/23/2007   Tucker, M.    Review Diversified Trust Deed Fund vs. Kinnon               0.2      105.00
                          Sandlin suit and judgment for collection.

2/25/2007   Tucker, M.    Review and analysis of e-mail from B. Bullard               0.5      262.50
                          regarding Colt settlement and payoff.

2/26/2007   Harvick, C.   Call with M. Tucker to discuss L. Weese, access to          0.4      170.00
                          documents and Colt meeting.

2/26/2007   Harvick, C.   Review Colt e-mails and draft agreements.                   0.3      127.50

2/26/2007   Harvick, C.   Call to J. Lisowski's office and e-mail A. Loraditch to     0.2       85.00
                          coordinate visit to review documents.

2/26/2007   Harvick, C.   Participate in call with Debtor, Diversified Trust Deed     0.4      170.00
                          Fund team, J. Chubb and R. Charles to discuss Colt
                          at the request of B. Bullard.

2/26/2007   Harvick, C.   Modify index of documents at USA Commercial                 0.4      170.00
                          Mortgage to prioritize review process.

2/26/2007   Harvick, C.   Travel to Las Vegas to review documents at USA              2.5    1,062.50
                          Commercial Mortgage and meet with the Debtor.

2/26/2007   Harvick, C.   Review Diversified Trust Deed Fund documents at             5.8    2,465.00
                          USA Commercial Mortgage.

2/26/2007   Tucker, M.    Review various e-mails on Colt settlement issues and        0.2      105.00
                          conference calls.

2/26/2007   Tucker, M.    Call with C. Harvick to discuss L. Weese, access to         0.4      210.00
                          documents and Colt meeting.

2/26/2007   Tucker, M.    Send e-mail to T. Zmalia regarding Wolfe Capital            0.1       52.50
                          financing status for Tree Moss purchase.

2/27/2007   Belt, D.      Review Colt loan payoff statements and compare to           0.3      142.50
                          motion describing settlement. Respond to M.
                          Levinson noting discrepancy in payoff amounts due to
                          "as of" dates being different.

2/27/2007   Harvick, C.   Review Motion to Reconvey Colt Gateway Mortgage.            0.2       85.00

2/27/2007   Harvick, C.   Travel back to Phoenix from Las Vegas for review of         2.5    1,062.50
                          document at USA Commercial Mortgage and meet
                          with the Debtor.

2/27/2007   Harvick, C.   Review Diversified Trust Deed Fund documents at             4.1    1,742.50
                          USA Commercial Mortgage.

2/27/2007   Harvick, C.   Review and prepare list of Tree Moss and Investors VI       2.5    1,062.50
                          documents at J. Lisowski's office.

2/27/2007   Tucker, M.    Review various versions and comment on draft                2.0    1,050.00
                          settlement agreement with Colt.

2/28/2007   Harvick, C.   Discussion with M. Tucker regarding the information         0.3      127.50
                          contained in boxes at USA Commercial Mortgage.



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Date         Consultant       Description                                              Hours        Fees

Asset Analysis and Recovery
2/28/2007    Harvick, C.      Review e-mail regarding index of documents                 0.1        42.50
                              produced to SEC and send response.

2/28/2007    Harvick, C.      Call with Imaging companies in Salt Lake and Las           0.4      170.00
                              Vegas to discuss the imaging of SEC and Beadle
                              documents. E-mail to A. Loraditch and Diamond
                              McCarthy regarding same.

2/28/2007    Harvick, C.      Call with A. Loraditch regarding Beadle production of      0.6      255.00
                              documents and amending the Subpoena. Send
                              request to G. Berman to split cost. Discuss same with
                              M. Tucker.

2/28/2007    Harvick, C.      Review of Colt e-mails and Motion to Accept Payment.       0.3      127.50

2/28/2007    Harvick, C.      Continue review of BySynergy Documents (Draw               0.8      340.00
                              Support) from Project Disbursement Group.

2/28/2007    Harvick, C.      Review of BySynergy Documents (Draw Support)               0.9      382.50
                              from Project Disbursement Group.

2/28/2007    Harvick, C.      Review Hotel Zoso Cash Flow Projections provided by        0.3      127.50
                              T. Newman.

2/28/2007    Harvick, C.      Review Hotel Zoso documents provided by T. Zmaila,         1.3      552.50
                              prepare index of documents.

2/28/2007    Harvick, C.      Finalize index of Tree Moss and Investors VI               0.5      212.50
                              documents at Lisowski's office and prepare document
                              request.

2/28/2007    Harvick, C.      Review BySynergy Fee Agreements and Budget                 1.1      467.50
                              provided by PDG, prepare analysis and updated
                              BySynergy Memo.

2/28/2007    Tucker, M.       Conference with J. Hermann and then M. Levinson            0.8      420.00
                              regarding collection issues on Colt, Tree Moss and
                              Investors VI.

2/28/2007    Tucker, M.       Review final filed motion and declaration related to       0.2      105.00
                              Colt settlement and related e-mails on errata and Colt
                              issues.

2/28/2007    Tucker, M.       Discuss the request to G. Berman to split cost with C.     0.2      105.00
                              Harvick.

2/28/2007    Tucker, M.       Discussion with C. Harvick regarding the information       0.3      157.50
                              contained in boxes at USA Commercial Mortgage.

Total for Asset Analysis and Recovery:                                                 227.4   103,515.00

Asset Sale
2/13/2007    Tucker, M.       Nonworking travel from Las Vegas to Phoenix after          2.5     1,312.50
                              meetings on sale and licensing.

2/13/2007    Tucker, M.       Participate in Debtor and all Committee call on sale       0.9      472.50
                              closure issues and Compass purchase price
                              adjustments.

2/13/2007    Tucker, M.       Nonworking travel Phoenix to Las Vegas for meeting         2.3     1,207.50
                              with Debtor and Committees on sale closing issues
                              and meeting with S. Bice on licensing.


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Date         Consultant          Description                                              Hours       Fees

Asset Sale
2/13/2007    Tucker, M.          Participate in pre-meeting and meeting with S. Bice of     1.9      997.50
                                 Nevada Mortgage licensing division with Debtor and
                                 all Committees on Compass sale and license issues.

Total for Asset Sale:                                                                       7.6    3,990.00

Case Administration
2/4/2007     Harvick, C.         Review Diversified Trust Deed Fund's online calendar.      0.2       85.00

2/6/2007     Harvick, C.         Review USA Commercial Mortgage docket.                     0.2       85.00

2/25/2007    Harvick, C.         Review various case e-mails.                               0.3      127.50

Total for Case Administration:                                                              0.7      297.50

Claims Administration and Objections
2/14/2007    Tucker, M.          Review McGinsey appeal and related pleadings.              0.3      157.50

2/27/2007    Tucker, M.          Review Burch claim appeal.                                 0.1       52.50

2/27/2007    Tucker, M.          Review McGinsey appeal.                                    0.1       52.50


Total for Claims Administration and Objections:                                             0.5      262.50

Collection Account Distributions and Related Disputes
2/2/2007     Harvick, C.         Review of prepaid interest and principal schedules         0.6      255.00
                                 provided by Debtor and send comments regarding
                                 same.

2/5/2007     Belt, D.            Prepare for and participate in call with S. Smith and      2.1      997.50
                                 M. Tucker regarding disposition of collection account
                                 cash.

2/5/2007     Tucker, M.          Review cash in collection account schedule from S.         3.1    1,627.50
                                 Smith and conference with S. Smith and D. Belt
                                 regarding same.

2/8/2007     Tucker, M.          Review cash in collection account and analysis             3.8    1,995.00
                                 prepared by S. Smith; discuss same with S. Smith.

2/9/2007     Harvick, C.         Review January Committee Report, determine                 1.1      467.50
                                 holdbacks for Diversified Trust Deed Fund and
                                 approve distribution.

2/9/2007     Tucker, M.          Prepare for and conference with R. Charles on              1.4      735.00
                                 resolution of cash in collection account.

2/12/2007    Belt, D.            Prepare for and participate in conference call on cash     1.7      807.50
                                 remaining in Collection account and conference with
                                 R. Charles, T. Burr, S. Smith, G. Garmen, M. Tucker
                                 and B. Higgens.

2/12/2007    Tucker, M.          Prepare for conference call on cash remaining in           2.2    1,155.00
                                 Collection account and conference with R. Charles, T.
                                 Burr, S. Smith, G. Garmen, D. Belt and B. Higgens;
                                 follow up discussion with R. Charles and T. Burr and
                                 respond to related e-mails.




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Date        Consultant         Description                                               Hours       Fees

Collection Account Distributions and Related Disputes
2/22/2007   Peterson, L.       Updated Diversified Trust Deed Fund monthly                 0.8      260.00
                               operating reports summary schedule with January
                               2007 monthly operating report.

Total for Collection Account Distributions and Related Disputes:                          16.8    8,300.00

Court Hearings
2/7/2007    Tucker, M.         Participate in bidding procedures hearing for Tree          0.7      367.50
                               Moss.

2/15/2007   Tucker, M.         Attend Tree Moss hearing.                                   1.0      525.00

2/15/2007   Tucker, M.         Travel from Phoenix to Las Vegas for USA                    2.5    1,312.50
                               Commercial Mortgage hearings and Tree Moss
                               hearings.

2/15/2007   Tucker, M.         Travel back from Las Vegas to Phoenix after Court           2.5    1,312.50
                               hearings on USA Commercial Mortgage and Tree
                               Moss.

2/15/2007   Tucker, M.         Attend USA Commercial Mortgage hearings.                    2.5    1,312.50

2/28/2007   Tucker, M.         Review agenda for Court hearings on March 1.                0.2      105.00


Total for Court Hearings:                                                                  9.4    4,935.00

Employment/Fee Applications
2/8/2007    Harvick, C.        Review modification to Fee Order and discuss same           0.2       85.00
                               with S. Smith.

2/9/2007    Smith, S.          Download, reconcile, spell and grammar check, and           6.3      598.50
                               format January time.

2/13/2007   Smith, S.          Format expenses for January.                                0.8       76.00

2/20/2007   Harvick, C.        Review FTI January time detail.                             0.3      127.50

2/20/2007   Harvick, C.        Review FTI January time detail.                             2.2      935.00

2/21/2007   Schwartz, J.       Enter revisions based on review by C. Harvick to the        2.7      877.50
                               January 2007 time detail. Perform review on total
                               hours to ensure all time detail for the period was
                               entered correctly and captured in the reports. Print
                               Exhibits A-D and provide to M. Tucker for final review.

2/25/2007   Tucker, M.         Review draft January interim invoice.                       1.1      577.50

2/26/2007   Smith, S.          Finalize time and expense entries for January monthly       2.5      237.50
                               statement; print, copy and mail January monthly
                               statement to recipients.

Total for Employment/Fee Applications:                                                    16.1    3,514.50

Financing
2/21/2007   Harvick, C.        Review Debtor monthly operating reports, discuss            0.6      255.00
                               same with D. Belt and send e-mail to L. Peterson.

2/23/2007   Tucker, M.         Review of operating reports.                                0.5      262.50



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Date        Consultant     Description                                                Hours       Fees

Financing

Total for Financing:                                                                    1.1      517.50

IP/10-90/Ashby Recovery
2/1/2007    Belt, D.       Review of HMA Sales sale of Royal Hotel documents            1.5      712.50
                           regarding Motion to Intervene filed by Liberty Bank.

2/2/2007    Belt, D.       Review First American Title sale closing documents           1.2      570.00
                           regarding Royal Hotel sale by HMA Sales and
                           respond to inquiry from M. Tucker regarding Liberty
                           Bank motion to intervene.

2/2/2007    Harvick, C.    Review Liberty Bank motion to intervene in HMA               0.4      170.00
                           Sales case.

2/5/2007    Belt, D.       Review HMA Sales documents received from debtors             5.2    2,470.00
                           counsel.

2/5/2007    Belt, D.       Participate in call with debtors counsel and Diversified     1.6      760.00
                           Trust Deed Fund counsel regarding litigation issues of
                           HMA Sales and sale of Royal Hotel.

2/5/2007    Harvick, C.    Participate in call with E. Monson, Diversified Trust        1.3      552.50
                           Deed Fund team, R. Charles, E. Madden and M.
                           Sorenson regarding HMA Sales status of litigation and
                           issues.

2/5/2007    Harvick, C.    Review of e-mails regarding HMA Sales and request            0.2       85.00
                           for an all hands Committee and Debtor call.

2/5/2007    Harvick, C.    Send HMA Sales data to Diamond McCarthy.                     0.2       85.00

2/5/2007    Peterson, L.   Review of documents for bank accounts related to             0.2       65.00
                           HMA Sales.

2/5/2007    Tucker, M.     Review HMA Sales closing documents and research              2.1    1,102.50
                           Liberty bank lien and time share receivables.

2/5/2007    Tucker, M.     Discuss loan collection issues on HMA Sales and 10-          0.4      210.00
                           90 with J. Hermann.

2/5/2007    Tucker, M.     Participate in conference call with Debtor, USA              1.7      892.50
                           Commercial Mortgage Committee and Diversified
                           Trust Deed Fund professionals regarding HMA Sales
                           litigation issues and strategy.

2/6/2007    Belt, D.       Conference call with Liberty Bank counsel and                0.8      380.00
                           Diversified Trust Deed Fund counsel regarding Motion
                           to Intervene.

2/7/2007    Belt, D.       Review S. Reale Motion to Dismiss regarding HMA              0.4      190.00
                           Sales and sale of Royal Hotel.

2/7/2007    Harvick, C.    Review Mesirow work product binder for Reale and             1.1      467.50
                           Ashby USA and meet with S. Smith to discuss same
                           and status of document request.

2/7/2007    Harvick, C.    Review 10-90 and HMA Sales tracing binder and                1.3      552.50
                           discuss same with L. Bauck and P. Cheng.

2/8/2007    Belt, D.       Review all Royal Hotel closing documents received            5.2    2,470.00
                           and begin preparation of schematic flow of funds for
                           sale proceeds.


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IP/10-90/Ashby Recovery
2/8/2007    Harvick, C.    Review e-mails regarding HMA Sales recent                      0.3      127.50
                           developments.

2/8/2007    Tucker, M.     Review listing of affiliate bank accounts for Investment       0.2      105.00
                           Partners/10-90 litigation efforts.

2/8/2007    Tucker, M.     Participate in conference call with Debtor and                 1.3      682.50
                           Diversified Trust Deed Fund professionals on status
                           and strategy for HMA Sales litigation.

2/9/2007    Belt, D.       Review HMA Sales deposition schedules and Reale                0.8      380.00
                           attorney's e-mail regarding proposed settlement
                           conference.

2/9/2007    Belt, D.       Revise and update Royal Hotel flow of funds analysis,          3.2    1,520.00
                           describe background of parties receiving
                           disbursements and forward to counsel.

2/9/2007    Belt, D.       Begin review of tracing binder for HMA Sales inflow of         0.8      380.00
                           funds from Diversified Trust Deed Fund.

2/9/2007    Tucker, M.     Review revised HMA Sales complaint and summons                 0.8      420.00
                           and related issues and e-mails on timing of hearing
                           and mediation possibilities.

2/12/2007   Belt, D.       Review relevant data and forward e-mail to E. Monson           0.4      190.00
                           regarding production of documents by HMA Sales at
                           2004 exam.

2/12/2007   Belt, D.       Meet with C. Harvick and M. Tucker to discuss HMA              0.5      237.50
                           Sales status and tracing support provided by Mesirow

2/12/2007   Harvick, C.    Meet with D. Belt and M. Tucker to discuss HMA                 0.6      255.00
                           Sales status and tracing support provided by Mesirow.
                           E-mail E. Monson regarding same.

2/12/2007   Tucker, M.     Meet with D. Belt and C. Harvick to discuss HMA                0.5      262.50
                           Sales status and tracing support provided by Mesirow

2/12/2007   Tucker, M.     Review numerous e-mails and pleadings on HMA                   2.6    1,365.00
                           Sales litigation, including order to mediate, amended
                           complaint and summons and supporting loan tracing
                           to date by Mesirow.

2/13/2007   Harvick, C.    Review e-mails regarding HMA Sales settlement                  0.1       42.50
                           conference.

2/13/2007   Harvick, C.    Review HMA Sales document and meet with J.                     1.7      722.50
                           Schwartz to discuss organizing and binding the
                           documents.

2/13/2007   Harvick, C.    Search USA Commercial Mortgage files provided to               1.2      510.00
                           SEC by Bryan Cave for Colt and HMA Sales
                           documents.

2/13/2007   Schwartz, J.   Work with C. Harvick to identify additional documents          2.3      747.50
                           to save to the network. Print newly saved documents
                           pertaining to HMA Sales and begin to organize.

2/14/2007   Belt, D.       Review all 2004 documents associated with HMA                  1.9      902.50
                           Sales litigation for additional support in preparation for
                           hearing and potential settlement conference.



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IP/10-90/Ashby Recovery
2/14/2007   Harvick, C.   Locate and send Investment Partners org charts and         0.1       42.50
                          entity list.

2/15/2007   Belt, D.      Complete the review of Mesirow's HMA Sales cash            3.6    1,710.00
                          tracing binder showing flow of funds to HMA Sales
                          from Diversified Trust Deed Fund.

2/16/2007   Belt, D.      Review and reply to multiple e-mails regarding HMA         0.7      332.50
                          Sales litigation, depos scheduled and issues related
                          to TRO.

2/16/2007   Tucker, M.    Review HMA Sales disbursements from sale and               2.1    1,102.50
                          documents supporting tracing; research TJA
                          Marketing.

2/19/2007   Belt, D.      Prepare for and participate in conference call with C.     2.3    1,092.50
                          Larsen and S. Don regarding court ordered term
                          sheet for settlement conference including background
                          discussion of global issues between USA Commercial
                          Mortgage and Diversified Trust Deed Fund.

2/19/2007   Belt, D.      Prepare outline of overall issues related to S. Reale      1.5      712.50
                          settlement conference and call with C. Larsen to
                          discuss same.

2/19/2007   Belt, D.      Conference call with Diversified Trust Deed Fund and       0.7      332.50
                          USA Commercial Mortgage counsel regarding HMA
                          Sales and S. Reale depositions, settlement offer and
                          strategy.

2/19/2007   Belt, D.      Trace direct fundings by Diversified Trust Deed Fund       1.9      902.50
                          to HMA Sales to Diversified Trust Deed Fund general
                          ledger entries to identify accounting treatment.

2/20/2007   Belt, D.      Conference call with P. Cheng, USA Commercial              0.8      380.00
                          Mortgage counsel and Diversified Trust Deed Fund
                          counsel regarding tracing of funds to HMA Sales.

2/20/2007   Belt, D.      Prepare documentation support received from FATCO          1.3      617.50
                          related to HMA Sales for settlement conference on
                          2/26/07.

2/20/2007   Harvick, C.   Participate in call with Debtor and Diversified Trust      0.8      340.00
                          Deed Fund team to discuss the tracing of funds into
                          HMA Sales and settlement offer.

2/20/2007   Harvick, C.   Review Tanamera/Roripaugh LLC memo Opposition              0.2       85.00
                          to Motion for Relief from Stay and David Fogg
                          Deposition.

2/20/2007   Harvick, C.   Review S. Reale Note and support binder of                 0.5      212.50
                          amendments and various analysis.

2/20/2007   Tucker, M.    Review issues on timing of Abolafia deposition in          0.1       52.50
                          HMA Sales litigation.

2/20/2007   Tucker, M.    Review Diversified Trust Deed Fund and USA                 0.4      210.00
                          Commercial Mortgage letters of settlement to S.
                          Reale.

2/20/2007   Tucker, M.    Meet with P. Cheng and E. Monson regarding HMA             0.6      315.00
                          Sales tracing of cash from Diversified Trust Deed
                          Fund to HMA Sales.


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IP/10-90/Ashby Recovery
2/20/2007   Tucker, M.     Review e-mails and conference with C. Larsen, M.          0.3      157.50
                           Levinson, J. Hermann and E. Monson on including
                           USA Capital Realty Advisors and HMA Sales in
                           mediation process for HMA Sales sale.

2/21/2007   Belt, D.       Review correspondence from Diversified Trust Deed         1.3      617.50
                           Fund counsel regarding HMA Sales, related
                           depositions scheduled and those that have been
                           delayed to adjust calendar for participation.

2/21/2007   Belt, D.       Begin preparation of Diversified Trust Deed Fund to       2.7    1,282.50
                           HMA Sales funds tracing matrix.

2/21/2007   Belt, D.       Review settlement offer from Reale counsel and e-         0.3      142.50
                           mail comments by Diversified Trust Deed Fund
                           counsel.

2/21/2007   Belt, D.       Review settlement offer letter to Reale and send          0.4      190.00
                           counsel comments regarding same.

2/21/2007   Harvick, C.    Review HMA Sales Settlement Letters and comment           0.2       85.00
                           on same.

2/21/2007   Schwartz, J.   Continue to print and organize HMA Sales                  0.2       65.00
                           documents. Provide completed binders to D. Belt for
                           review.

2/21/2007   Tucker, M.     Analysis of draft HMA Sales settlement proposals and      0.9      472.50
                           schedules by USA Commercial Mortgage and
                           Diversified Trust Deed Fund.

2/22/2007   Belt, D.       Review documents received from Mesirow regarding          0.8      380.00
                           S. Reale loan documents.

2/22/2007   Belt, D.       Review S. Reale response to USA Commercial                0.7      332.50
                           Mortgage settlement offer and comments from
                           counsel regarding legal and financial concepts
                           supporting Diversified Trust Deed Fund's position
                           regarding return of sale proceeds.

2/22/2007   Belt, D.       Prepare summary and table of contents with all            1.5      712.50
                           documents received relative to HMA Sales adversary
                           proceeding against S. Reale, et al in preparation for
                           mediation settlement conference on Monday.

2/22/2007   Belt, D.       Review settlement documents between HMA Sales             0.5      237.50
                           and Abolafia to identify whether equity was tendered.

2/22/2007   Belt, D.       Finalize HMA Sales funds tracing analysis and             2.6    1,235.00
                           distribute to counsel. Revise analysis based on
                           comments and redistribute.

2/22/2007   Harvick, C.    Review HMA Sales flow of funds and related e-mails.       0.4      170.00

2/22/2007   Harvick, C.    Review Gerrard response to Settlement Letter.             0.2       85.00

2/22/2007   Schwartz, J.   Organize HMA Sales documents received from the            0.3       97.50
                           document production of Sal Reale. Provide binder to
                           D. Belt for review.

2/22/2007   Tucker, M.     Analysis of payments made from Diversified Trust          2.4    1,260.00
                           Deed Fund to HMA Sales in preparation for mediation.



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IP/10-90/Ashby Recovery
2/22/2007   Tucker, M.    Review letter from S. Reale counsel on defenses to            0.3      157.50
                          USA Commercial Mortgage preference and fraudulent
                          transfer claims; read and send e-mails on same to
                          group.

2/23/2007   Belt, D.      Review Liberty Bank motion regarding clarification of         0.2       95.00
                          TRO.

2/23/2007   Belt, D.      Prepare analysis and summary of documents to be               1.4      665.00
                          reviewed in preparation for depositions on Monday
                          with Great White Investments cash disbursement
                          recipients and coordinate attendance logistics with S.
                          Don.

2/23/2007   Belt, D.      Review C. Orrock letter claiming conflicts of interest in     0.3      142.50
                          HMA Sales litigation.

2/23/2007   Belt, D.      Review documents received from Mesirow regarding              1.0      475.00
                          S. Reale loan documents.

2/23/2007   Belt, D.      Discuss index of USA Commercial Mortgage                      0.4      190.00
                          documents with C. Harvick.

2/23/2007   Harvick, C.   Review index of USA Commercial Mortgage                       0.6      255.00
                          documents. Discuss same with D. Belt pointing out
                          the available HMA Sales documents.

2/23/2007   Harvick, C.   Continue review of 10-90 tracing support binder and           1.7      722.50
                          prepare question list for Mesirow.

2/23/2007   Harvick, C.   Review of Tanamera contract and B. Seabert file.              1.3      552.50
                          Review and send e-mails regarding same.

2/23/2007   Tucker, M.    Discuss transition, litigation and document issues with       0.5      262.50
                          M. Levinson regarding other 10-90 issues.

2/23/2007   Tucker, M.    Review e-mails on access to USA Commercial                    0.3      157.50
                          Mortgage documents not in J. Milanowski's office.

2/23/2007   Tucker, M.    Review Orrock declaration and issues on HMA Sales             1.4      735.00
                          trial preparation.

2/23/2007   Tucker, M.    Discuss transition, litigation and document issues with       0.4      210.00
                          M. Levinson regarding HMA Sales.

2/23/2007   Tucker, M.    Review and analysis of Investment Partners                    0.7      367.50
                          document to sell its interest in Tanamera Properties
                          (security for $58 million note).

2/25/2007   Belt, D.      Travel from Phoenix to Las Vegas to attend                    2.5    1,187.50
                          depositions and review USA Commercial Mortgage
                          documents for HMA Sales and Colt Gateway related
                          files in preparation for hearings and negotiations.

2/26/2007   Belt, D.      Review deposition question outlines and                       0.9      427.50
                          correspondence from counsel related to rescheduling
                          of R&N deposition.

2/26/2007   Belt, D.      Begin review of boxed documents at USA Commercial             2.5    1,187.50
                          Mortgage for Diversified Trust Deed Fund related
                          matters in support of various litigation.




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IP/10-90/Ashby Recovery
2/26/2007   Belt, D.      Attend depositions of Belmonte and Kraus related to      4.2    1,995.00
                          HMA Sales litigation and writ of attachment.

2/26/2007   Belt, D.      Participate in call with M. Levinson, J. Hermann and     0.3      142.50
                          C. Harvick to discuss HMA Sales, Colt and access to
                          documents.

2/26/2007   Harvick, C.   Participate in call with M. Levinson, J. Hermann and     0.3      127.50
                          D. Belt to discuss HMA Sales, Colt and access to
                          documents.

2/26/2007   Tucker, M.    Nonworking travel to Phoenix from Las Vegas for the      2.1    1,102.50
                          HMA Sales/S. Reale mediation.

2/26/2007   Tucker, M.    Prepare for HMA Sales/S. Reale mediation.                1.1      577.50

2/26/2007   Tucker, M.    Participate in HMA Sales/S. Reale mediation.             4.1    2,152.50

2/26/2007   Tucker, M.    Nonworking travel to Las Vegas for HMA Sales/S.          1.8      945.00
                          Reale mediation.

2/27/2007   Belt, D.      Review Colt Gateway and USA Investment Partners          2.0      950.00
                          wire transfer record related files noted in boxed
                          document review.

2/27/2007   Belt, D.      Participate in call with M. Levinson, J. Hermann and     0.5      237.50
                          C. Harvick to discuss current events with HMA Sales,
                          J. Milanowski and USA Commercial Mortgage
                          documents.

2/27/2007   Belt, D.      Participate in call with M. Levinson, J. Hermann and     0.3      142.50
                          C. Harvick to discuss Colt payoff numbers and HMA
                          Sales issues related to work product and the proper
                          person to testify.

2/27/2007   Belt, D.      Attend depositions of R&N Realty at Beckley              2.5    1,187.50
                          Singleton offices.

2/27/2007   Harvick, C.   Participate in call with M. Levinson, J. Hermann and     0.5      212.50
                          D. Belt to discuss current events with HMA Sales, J.
                          Milanowski and USA Commercial Mortgage
                          documents.

2/27/2007   Harvick, C.   Participate in call with M. Levinson, J. Hermann and     0.3      127.50
                          D. Belt to discuss Colt payoff numbers and HMA
                          Sales issues related to work product and the proper
                          person to testify.

2/27/2007   Tucker, M.    Conference with J. Milanowski regarding potential        0.5      262.50
                          resolution of issues.

2/27/2007   Tucker, M.    Review HMA Sales documents received from Wells           3.7    1,942.50
                          Fargo and activity in loan binders.

2/28/2007   Belt, D.      Review relevant bank statements and trace $1.5           0.7      332.50
                          million transfer on 6/25/04 from USA Capital Realty
                          Advisors through multiple entities.

2/28/2007   Belt, D.      Prepare e-mail to Diversified Trust Deed Fund            0.4      190.00
                          counsel confirming parties subject to litigation and
                          hearing related to HMA Sales and writ of attachment.




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Date        Consultant       Description                                              Hours       Fees

IP/10-90/Ashby Recovery
2/28/2007   Belt, D.         Begin review of bank statements received from Wells        3.8    1,805.00
                             Fargo for 10-90 Inc and Mountain Vista. Incorporate
                             documents into Diversified Trust Deed Fund to HMA
                             Sales cash tracing analysis to complete previously
                             missing data.

2/28/2007   Belt, D.         Travel from Las Vegas to Phoenix after attending           2.5    1,187.50
                             depositions.

2/28/2007   Harvick, C.      Research $1.5 million payment from USA Capital             1.7      722.50
                             Realty Advisors. Discuss same with L. Weese and
                             submit data request to Mesirow.

2/28/2007   Tucker, M.       Review S. Reale loan funding tracing information on        0.5      262.50
                             HMA Sales.

2/28/2007   Tucker, M.       Review Great White objection for HMA Sales and             0.2      105.00
                             various e-mails on reply and incorrect items in brief.

2/28/2007   Tucker, M.       Conference with P. Swan (D. Fogg attorney), J.             0.5      262.50
                             Hermann and C. Larsen regarding Mt. Vista and 10-
                             90 Inc.

2/28/2007   Tucker, M.       Review and analysis of Great White's opposition to         1.1      577.50
                             writ of attachment in HMA Sales; review several
                             related e-mails.

2/28/2007   Tucker, M.       Review tracing of case summary to HMA Sales and            0.4      210.00
                             respond to C. Larsen on use of chart at trial.

Total for IP/10-90/Ashby Recovery:                                                    129.7   62,097.50

Meetings & Communications with Diversified Committee
2/5/2007    Harvick, C.      Call with Diversified Trust Deed Fund investor and         0.6      255.00
                             send follow-up e-mail with requested information.

2/6/2007    Tucker, M.       Respond to investor information request and S. Katz        0.2      105.00
                             status update on sale closing.

2/8/2007    Harvick, C.      Call with Diversified Trust Deed Fund investor.            0.4      170.00

2/13/2007   Harvick, C.      Review e-mail regarding FD resources and                   0.1       42.50
                             communication with Diversified Trust Deed Fund fund
                             members.

2/13/2007   Harvick, C.      Review e-mail responses to Diversified Trust Deed          0.1       42.50
                             Fund members.

2/16/2007   Harvick, C.      Research for response to Diversified Trust Deed Fund       0.2       85.00
                             investor question and send findings.

2/21/2007   Harvick, C.      Participate in Diversified Trust Deed Fund Committee       1.3      552.50
                             call.

2/21/2007   Tucker, M.       Prepare for and participate in Committee conference        2.2    1,155.00
                             call.

2/22/2007   Harvick, C.      Follow-up call with FD to discuss Diversified Trust        0.1       42.50
                             Deed Fund member communications.

2/23/2007   Harvick, C.      Call with M. McCall regarding Diversified Trust Deed       0.2       85.00
                             Fund communication to members.


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Date        Consultant       Description                                              Hours       Fees

Meetings & Communications with Diversified Committee
2/27/2007   Harvick, C.      Review responses to Diversified Trust Deed Fund            0.2       85.00
                             member questions.

Total for Meetings & Communications with Diversified Committee:                         5.6    2,620.00

Plan and Other Restructure Related Work
2/1/2007    Belt, D.         Conference call with electronic evidence recovery          1.1      522.50
                             professionals and counsel regarding preservation of
                             USA Commercial Mortgage records and data.

2/1/2007    Harvick, C.      Review Stipulated Protective Order and prepare for         0.4      170.00
                             call with E. Madden, M. Tucker and FTI's technology
                             team.

2/1/2007    Harvick, C.      Participate in call with E. Madden, M. Tucker and          1.1      467.50
                             FTI's technology team to discuss electronic evidence
                             and preservation issues and transition requirements.

2/1/2007    Harvick, C.      Follow-up discussion with R. Bilbrey regarding next        0.4      170.00
                             steps for electronic preservation.

2/1/2007    Harvick, C.      Call with B. Molinski to provide overview of Tuesday's     0.2       85.00
                             transition meeting and status of document
                             preservation.

2/1/2007    Tucker, M.       Participate in conference call with C. Harvick, FTI        1.1      577.50
                             Electronic evidence personnel and Diamond
                             McCarthy attorney regarding document presentation
                             and computer issues.

2/2/2007    Harvick, C.      Review of Advanced Information Systems proposal            0.3      127.50
                             and comment on same.

2/2/2007    Harvick, C.      Coordinate Diversified Trust Deed Fund transition          0.2       85.00
                             team meeting.

2/2/2007    Harvick, C.      Call with M. Tucker and G. Berman (part) to discuss        0.8      340.00
                             the employment of AIS, KPMG, data preservation and
                             planned 2004 exams.

2/2/2007    Tucker, M.       Review document retention and computer proposal            1.7      892.50
                             from AIMS and discuss same with G. Berman and C.
                             Harvick.

2/4/2007    Harvick, C.      Exchange e-mails with R. Charles regarding the             0.1       42.50
                             imaging of documents provided to SEC.

2/5/2007    Harvick, C.      Participate in call with E. Madden and M. Tucker           0.3      127.50
                             regarding the retention of AIS.

2/5/2007    Harvick, C.      Call Litigation Document Group to address questions        0.2       85.00
                             regarding the scanning of USA Commercial Mortgage
                             documents produced to the SEC.

2/5/2007    Harvick, C.      Coordinate meeting with E. Madden regarding AIS            0.2       85.00
                             and respond to R. Bilbrey e-mail regarding same.

2/5/2007    Harvick, C.      Review of KPMG engagement letter for Diversified           0.3      127.50
                             Trust Deed Fund tax services.




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Date       Consultant     Description                                                  Hours       Fees

Plan and Other Restructure Related Work
2/5/2007   Harvick, C.    Call with B. Molinski, J. Mow and E. Madden to                 0.5      212.50
                          discuss AIS proposal, process moving forward and
                          related issues.

2/5/2007   Harvick, C.    Call with B. Molinski to prepare for meeting with E.           0.4      170.00
                          Madden and discuss AIS proposal.

2/5/2007   Harvick, C.    Update Diversified Trust Deed Fund transition                  1.5      637.50
                          workplan and data request.

2/5/2007   Tucker, M.     Review KPMG employment letter for Diversified Trust            0.3      157.50
                          Deed Fund taxes and send questions to Diversified
                          Trust Deed Fund team.

2/5/2007   Tucker, M.     Review several Plan appeal documents and related e-            0.3      157.50
                          mails.

2/5/2007   Tucker, M.     Participate in call with E. Madden and C. Harvick              0.3      157.50
                          regarding retention of AIS.

2/6/2007   Belt, D.       Participate in effective date transition plan conference       3.0    1,425.00
                          call with M. Levinson, J. Hermann, A. Loraditch, B.
                          Olson, M. Tucker and C. Harvick.

2/6/2007   Harvick, C.    Participate in effective date transition plan conference       3.0    1,275.00
                          call with M. Levinson, J. Hermann, A. Loraditch, B.
                          Olson, D. Belt and M. Tucker.

2/6/2007   Harvick, C.    Call with J. Reed to discuss the imaging of Diversified        0.2       85.00
                          Trust Deed Fund's loan files.

2/6/2007   Harvick, C.    Review various e-mails and documents provided by               0.5      212.50
                          Mesirow and Debtor and update data request.

2/6/2007   Harvick, C.    Review Prospectus to determine who pays for the                0.7      297.50
                          preparation of Diversified Trust Deed Fund's tax
                          returns.

2/6/2007   Tucker, M.     Review licensing requirement memo from Lewis &                 0.2      105.00
                          Roca.

2/6/2007   Tucker, M.     Participate in all Committee and Debtor conference             1.2      630.00
                          call on transition issues and plan effective date/appeal
                          issues.

2/6/2007   Tucker, M.     Participate in conference call with T. Allison, A. Jarvis,     0.2      105.00
                          R. Charles , J. Bermann, J. Hermann and M. Levinson
                          regarding Plan Transition issues.

2/6/2007   Tucker, M.     Review status of various plan transition issues                0.8      420.00
                          including documents at USA Commercial Mortgage,
                          litigation coordination with Diamond McCarthy,
                          vacating offices, etc.

2/6/2007   Tucker, M.     Participate in effective date transition plan conference       3.0    1,575.00
                          call with M. Levinson, J. Hermann, A. Loraditch, B.
                          Olson, D. Belt and C. Harvick.




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Date       Consultant     Description                                              Hours       Fees

Plan and Other Restructure Related Work
2/7/2007   Belt, D.       Meet with various Mesirow personnel to obtain              3.7    1,757.50
                          general ledger histories for Diversified Trust Deed
                          Fund, USA Securities and USA Capital Realty
                          Advisors, discuss data requirements for loading
                          VisualFast software and discuss transfer of bank
                          account control.

2/7/2007   Belt, D.       Travel from Phoenix to Las Vegas to meet with Debtor       2.5    1,187.50
                          personnel and advisors to discuss transition issues.

2/7/2007   Belt, D.       Travel from Las Vegas to Phoenix after meeting with        2.5    1,187.50
                          Debtor personnel and advisors to discuss transition
                          issues.

2/7/2007   Belt, D.       Call with K. Conner regarding transfer of VisualFast       0.4      190.00
                          license agreement to post effective Diversified Trust
                          Deed Fund fund control and loading of program.

2/7/2007   Harvick, C.    Non-working travel back to Phoenix after meeting with      2.2      935.00
                          Debtor.

2/7/2007   Harvick, C.    Call with E. Monson and discussion with A. Jarvis          0.3      127.50
                          regarding the retention of original documents related
                          to Diversified Trust Deed Fund fund members.

2/7/2007   Harvick, C.    Non-working Travel to meet with Debtor at USA              2.5    1,062.50
                          Commercial Mortgage.

2/7/2007   Harvick, C.    Prepare and send list of Post Effective Diversified        0.4      170.00
                          Trust Deed Fund billing matter and task descriptions.

2/7/2007   Harvick, C.    Review Debtor Transition Plan.                             0.5      212.50

2/7/2007   Harvick, C.    Review Debtors Motion Related to Implementation of         0.3      127.50
                          Confirmed Plan.

2/7/2007   Harvick, C.    Call with Transfer Solutions and meeting with J.           0.3      127.50
                          Schlee to obtain a copy of Visualfast.

2/7/2007   Harvick, C.    Update Diversified Trust Deed Fund Transition Plan.        0.2       85.00

2/7/2007   Harvick, C.    Review file room and meet with J. Reed to discuss the      0.9      382.50
                          transition of documents and other transition issues.

2/7/2007   Harvick, C.    Update Diversified Trust Deed Fund data request.           0.5      212.50

2/7/2007   Tucker, M.     Review e-mail on status of computer copying and            0.3      157.50
                          other transition issues.

2/8/2007   Belt, D.       Prepare for and participate in conference call with M.     2.1      997.50
                          Levinson, J. Hermann, C. Harvick and Mr. Tucker
                          regarding transition and litigation issues.

2/8/2007   Bilbrey, R.    Conference call regarding preservation of electronic       0.6      297.00
                          data, follow up discussion with C. Harvick.

2/8/2007   Harvick, C.    Review and respond to G. Bermann e-mail regarding          0.1       42.50
                          Compass' offer for space.

2/8/2007   Harvick, C.    Coordinate call with FTI IT to get Visualfast up and       0.1       42.50
                          running.

2/8/2007   Harvick, C.    Review Compass Cooperation agreement.                      0.2       85.00


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Date        Consultant    Description                                                 Hours       Fees

Plan and Other Restructure Related Work
2/8/2007    Harvick, C.   Prepare for and participate in conference call with M.        2.0      850.00
                          Levinson, J. Hermann, M. Tucker and D. Belt
                          regarding transition and litigation issues.

2/8/2007    Harvick, C.   Call with E. Madden, T. Castillo, AIS, B. Molinski and        1.1      467.50
                          R. Bilbrey to discuss the status of preserving
                          electronic data and T. Castillo's qualifications. Discuss
                          same with M. Tucker.

2/8/2007    Harvick, C.   Call with FTI IT personnel to set-up Visualfast on our        0.5      212.50
                          network.

2/8/2007    Harvick, C.   Update Transition Plan based on this week's activity          1.5      637.50
                          and meetings.

2/8/2007    Tucker, M.    Participate in conference call with M. Levinson, J.           1.7      892.50
                          Hermann, C. Harvick and D. Belt regarding transition
                          and litigation issues.

2/8/2007    Tucker, M.    Discuss status of preserving electronic data with C.          0.5      262.50
                          Harvick.

2/9/2007    Harvick, C.   Update and prepare individual Diversified Trust Deed          0.6      255.00
                          Fund Transition Plans and circulate to team.

2/9/2007    Harvick, C.   Review of Lenders Protections Group extension of              0.3      127.50
                          time for appeal, amended summons in HMA Sales
                          case and various other filings.

2/9/2007    Tucker, M.    Review LPG motion for reconsideration on appeal and           0.5      262.50
                          Debtor related motions on plan appeal issues.

2/11/2007   Harvick, C.   All hands Debtor and Committee call to discuss S.             0.8      340.00
                          Bice call and timing of closing.

2/11/2007   Harvick, C.   Review e-mails regarding Colt, HMA Sales, and                 0.5      212.50
                          closing issues.

2/11/2007   Tucker, M.    Discussion with M. Levinson regarding Diversified             0.3      157.50
                          Trust Deed Fund license issues and sale closing
                          issues.

2/11/2007   Tucker, M.    Participate in conference call with Debtor and all            0.8      420.00
                          Committees to discuss S. Bice call and timing of
                          closing.

2/11/2007   Tucker, M.    Review numerous e-mails on issues on Compass                  0.7      367.50
                          close and license issues as well as motions filed by
                          LPG on Appeal and license issues with S. Bice.

2/12/2007   Harvick, C.   Review BMC's response to R. Ragni's e-mail and                0.1       42.50
                          send recommendation to M. Tucker.

2/12/2007   Harvick, C.   Review FTI IT proposal to set-up and run Visualfast, e-       0.6      255.00
                          mail comments regarding same and discuss with G.
                          Crawford.

2/12/2007   Harvick, C.   Review e-mails regarding servicing license and                0.2       85.00
                          comment on same.

2/12/2007   Harvick, C.   Review Beadle McBride Stipulation and related e-              0.2       85.00
                          mails



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Plan and Other Restructure Related Work
2/12/2007   Harvick, C.   Review BMC motion and fee structure to research               0.2       85.00
                          cost for Post Diversified Trust Deed Fund. E-mail R.
                          Ragni regarding same.

2/12/2007   Harvick, C.   Follow up with G. Crawford regarding proposal from            0.6      255.00
                          FTI IT for Hardware and Software needed to run
                          Visualfast.

2/12/2007   Tucker, M.    Review e-mail regarding meeting with S. Bice on               0.5      262.50
                          licensing issues on February 13 and coordinate
                          attendance at meeting and discuss same with M.
                          Levinson.

2/13/2007   Belt, D.      Discuss Diversified Trust Deed Fund general ledger,           0.3      142.50
                          financial statements and bank records with C. Harvick.

2/13/2007   Belt, D.      Review e-mail and attached license transfer form              0.3      142.50
                          received from VisualFast representative.

2/13/2007   Harvick, C.   Review of Protective Order to determine if it applies to      0.2       85.00
                          J. Milanowski e-mails.

2/13/2007   Harvick, C.   Follow-up regarding BMC to host Diversified Trust             0.3      127.50
                          Deed Fund website and technical needs for Visual
                          Fast

2/13/2007   Harvick, C.   Review e-mail regarding meeting with S. Bice.                 0.1       42.50

2/13/2007   Harvick, C.   Review allocation of BMC fees to various Debtors.             0.3      127.50

2/13/2007   Tucker, M.    Discuss transition issues with M. Levinson, S.                1.0      525.00
                          Freeman and G. Berman.

2/14/2007   Belt, D.      Review various motions, orders and pleadings                  0.9      427.50
                          regarding stay, Plan effective date and appeal of Plan
                          confirmation.

2/14/2007   Belt, D.      Prepare e-mail outlining liability issues regarding           0.7      332.50
                          engagement of Administrator and effect on procuring
                          D&O coverage for post effective date Diversified Trust
                          Deed Fund entity.

2/14/2007   Belt, D.      Review D&O coverage proposal received from Willis             0.7      332.50
                          Insurance and forward e-mail to Brown & Brown
                          inquiring about second quote.

2/14/2007   Belt, D.      Prepare and forward VisualFast license agreement              0.6      285.00
                          comments to counsel for review.

2/14/2007   Harvick, C.   Review VisualFast License Agreement, meet with FTI            0.5      212.50
                          technology group to get VisualFast working on a
                          dedicated computer.

2/14/2007   Harvick, C.   Participate in call with B. Molinski to discuss access to     0.3      127.50
                          documents produced by RQN to SEC.

2/14/2007   Harvick, C.   Send request for index of documents produced to SEC           0.1       42.50

2/14/2007   Harvick, C.   Update Diversified Trust Deed Fund Transition Plan            0.5      212.50

2/14/2007   Harvick, C.   Test VisualFast application to ensure it is working           0.3      127.50
                          properly.



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Date        Consultant     Description                                              Hours       Fees

Plan and Other Restructure Related Work
2/14/2007   Tucker, M.     Review various LPG briefs and replies on motion to         1.4      735.00
                           dismiss.

2/14/2007   Tucker, M.     Review motion for order to implement Plan.                 0.2      105.00

2/14/2007   Tucker, M.     Review VisualFast license issues.                          0.2      105.00

2/15/2007   Harvick, C.    Work through dry run of VisualFast and call with K.        0.9      382.50
                           Conner at Transfer Solutions to address questions.

2/15/2007   Harvick, C.    Review disk of images of documents provided to SEC         1.9      807.50
                           by RQN, coordinate copying and sending out disks,
                           review and request updated index

2/15/2007   Harvick, C.    Call with Document Litigation Group to discuss file        0.3      127.50
                           formats, search tools and ability to OCR the images of
                           documents produced to SEC.

2/15/2007   Harvick, C.    Call with M. Sorenson to discuss transition issues and     0.4      170.00
                           future location of USA Commercial Mortgage
                           documents and electronic files.

2/15/2007   Harvick, C.    Review various motions, orders and pleadings               0.3      127.50
                           regarding stay, Plan effective date and appeal of plan
                           confirmation.

2/15/2007   Harvick, C.    Review and send various e-mail regarding Diversified       0.4      170.00
                           Trust Deed Fund transition issues.

2/15/2007   Schwartz, J.   Test VisualFast including posting of distribution,         2.0      650.00
                           printing of checks and shareholder statements. Place
                           call to L. Weese for clarification.

2/16/2007   Tucker, M.     Review transition Plan status document and make            0.9      472.50
                           edits.

2/18/2007   Belt, D.       Conference call with M. Levinson, J. Hermann, M.           0.9      427.50
                           Tucker, C. Harvick and B. Edmondson regarding
                           planning for transition meeting with Debtor and USA
                           Commercial Mortgage Committee.

2/18/2007   Harvick, C.    Conference call with M. Levinson, J. Hermann, C.           0.9      382.50
                           Harvick, M. Tucker and B. Edmondson regarding
                           planning for transition meeting with Debtor and USA
                           Commercial Mortgage Committee.

2/18/2007   Tucker, M.     Conference call with M. Levinson, J. Hermann, C.           0.9      472.50
                           Harvick, D. Belt and B. Edmondson regarding
                           planning for transition meeting with Debtor and USA
                           Commercial Mortgage Committee.

2/19/2007   Harvick, C.    Travel to Las Vegas to meet with USA Commercial            2.5    1,062.50
                           Mortgage Committee professionals and Debtor.

2/19/2007   Harvick, C.    Participate in meeting with Debtor, Diversified Trust      4.9    2,082.50
                           Deed Fund team , USA Commercial Mortgage
                           Trustee and counsel, regarding transition issues and
                           plans moving forward.

2/19/2007   Harvick, C.    Participate in meeting with Diversified Trust Deed         4.0    1,700.00
                           Fund team, USA Commercial Mortgage Trustee and
                           counsel regarding the coordination of litigation, and
                           Plan implementation issues.


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Date        Consultant    Description                                            Hours       Fees

Plan and Other Restructure Related Work
2/19/2007   Tucker, M.    Travel to Las Vegas to meet with Debtor and USA          2.5    1,312.50
                          Commercial Mortgage trustee and counsel regarding
                          transition issues.

2/19/2007   Tucker, M.    Meet with Diversified Trust Deed Fund team, USA          4.0    2,100.00
                          Commercial Mortgage trustee and counsel regarding
                          coordinating litigation and Plan transition issues.

2/19/2007   Tucker, M.    Meet with Debtor, Diversified Trust Deed Fund team,      4.9    2,572.50
                          USA Commercial Mortgage trustee and counsel
                          regarding transition issues, litigation issues and
                          previous meetings with J. Milanowski.

2/20/2007   Harvick, C.   Meet with J. Reed to discuss outstanding document        0.3      127.50
                          request and e-mail outstanding list.

2/20/2007   Harvick, C.   Call with M. Pugsley, E. Madden and B. Edmundson         0.8      340.00
                          to discuss the source of the documents produced to
                          SEC and timing of production of documents from USA
                          Commercial Mortgage.

2/20/2007   Harvick, C.   Meeting with USA Commercial Mortgage Trust,              1.1      467.50
                          Diversified Trust Deed Fund and Debtor professionals
                          to discuss transition issues.

2/20/2007   Harvick, C.   Discuss with Debtor and send e-mail requesting           0.7      297.50
                          copies of e-mail files.

2/20/2007   Harvick, C.   Travel back to Phoenix from Las Vegas transition         2.5    1,062.50
                          meetings with Debtor.

2/20/2007   Tucker, M.    Determine status of D&O insurance coverage.              0.1       52.50

2/20/2007   Tucker, M.    Review USA Capital Realty Advisors, USA Securities       0.2      105.00
                          and Diversified Trust Deed Fund operating
                          agreements.

2/20/2007   Tucker, M.    Nonworking travel from Las Vegas to Phoenix from         2.5    1,312.50
                          transition meetings.

2/20/2007   Tucker, M.    Determine data access for transition including           0.4      210.00
                          sending e-mail and PST files for USA Commercial
                          Mortgage.

2/20/2007   Tucker, M.    Discussion with G. Berman, A. Diamond and J. Reed        0.2      105.00
                          regarding meeting with the FBI on document
                          productions and access to information.

2/21/2007   Belt, D.      Prepare e-mail notice to counsel and Administrator       0.3      142.50
                          regarding transfer of control over Diversified Trust
                          Deed Fund bank account and corporate resolution
                          need.

2/21/2007   Harvick, C.   Review transmittal letters sent to SEC regarding USA     0.7      297.50
                          Commercial Mortgage documents.

2/21/2007   Harvick, C.   Review LPG's Application to Shorten Time for Stay        0.5      212.50
                          Pending Appeal and supporting Exhibits.

2/21/2007   Harvick, C.   Review Second Joint Motion for Order Implementation      0.8      340.00
                          of Confirmed Plan and send comments regarding
                          same.



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Date        Consultant    Description                                               Hours       Fees

Plan and Other Restructure Related Work
2/21/2007   Tucker, M.    Review 1142 motion.                                         0.5      262.50

2/21/2007   Tucker, M.    Conference with M. Levinson and J. Hermann                  0.6      315.00
                          regarding transfer of servicing language for 1142
                          motion; review documents and respond to same.

2/21/2007   Tucker, M.    Review e-mails on status of taint and team review.          0.2      105.00

2/21/2007   Tucker, M.    Review draft reply to LPG Appeal.                           0.5      262.50

2/21/2007   Tucker, M.    Participate in Debtor and all Committee conference          2.3    1,207.50
                          call on appeal and stay issues and 1142 additional
                          confirmation order; review draft orders and comments.

2/21/2007   Tucker, M.    Review e-mails on status of Beadle production and           0.5      262.50
                          depositions; respond to e-mails on same.

2/22/2007   Harvick, C.   Review of Debtor's Second Motion for Plan                   0.5      212.50
                          Implementation. Discuss same with M. Levinson.

2/22/2007   Harvick, C.   Send RQN transmittal letters to E. Madden and B.            0.1       42.50
                          Edmundson.

2/22/2007   Harvick, C.   Review revised 1142 motion and related e-mails.             0.4      170.00

2/22/2007   Harvick, C.   Review Transition Task List, research past requests         0.8      340.00
                          and send multiple request e-mails to Mesirow.

2/22/2007   Harvick, C.   Format and review index of USA Commercial                   1.7      722.50
                          Mortgage documents stored at USA Commercial
                          Mortgage.

2/22/2007   Harvick, C.   Review of First Trust Deed Fund's Reply Motion and          0.6      255.00
                          related filings regarding negotiations with UCC for the
                          allocation of the overbid. E-mail comments regarding
                          same.

2/22/2007   Tucker, M.    Review revised 1142 motion.                                 0.6      315.00

2/22/2007   Tucker, M.    Review motion and related e-mails to remain on              0.3      157.50
                          premises at USA Commercial Mortgage.

2/23/2007   Belt, D.      Conference call with K. Batka and D&O underwriter to        1.3      617.50
                          answer questions regarding Diversified Trust Deed
                          Fund operations and case status.

2/23/2007   Belt, D.      Continue review of documents provided to SEC by             2.1      997.50
                          Debtor received electronically from Mesirow.

2/23/2007   Harvick, C.   Review various case e-mails and documents                   0.6      255.00
                          regarding Orrock, LPG Appeal, Sheraton files and
                          Judgment, and meetings next week in Las Vegas.

2/23/2007   Harvick, C.   Separate calls with J. Hermann and M. Levinson to           0.4      170.00
                          discuss document review and meeting in Las Vegas
                          next week.

2/23/2007   Harvick, C.   Various calls with M. Olson and e-mails regarding           0.3      127.50
                          access to documents at USA Commercial Mortgage.

2/23/2007   Tucker, M.    Review several pleadings related to enforcement of          1.7      892.50
                          Plan by First Trust Deed Fund and USA Commercial
                          Mortgage including declaration by T. Burr.


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Date        Consultant    Description                                              Hours       Fees

Plan and Other Restructure Related Work
2/23/2007   Tucker, M.    Review e-mails on letter to send to counsel for LPG        0.5      262.50
                          Group.

2/26/2007   Belt, D.      Meeting with M. Sorensen and C. Harvick to discuss         0.3      142.50
                          the moving and storage of USA Commercial Mortgage
                          and Diversified Trust Deed Fund documents.

2/26/2007   Harvick, C.   Discussion with S. Smith regarding L. Weese,               0.3      127.50
                          outstanding request items and status.

2/26/2007   Harvick, C.   Review e-mails regarding Brief of Debtors - Appellees.     0.2       85.00

2/26/2007   Harvick, C.   Meeting with M. Sorensen and D. Belt to discuss the        0.3      127.50
                          moving and storage of USA Commercial Mortgage
                          and Diversified Trust Deed Fund documents.

2/26/2007   Harvick, C.   Meeting with M. Olson to discuss the moving and            0.3      127.50
                          storage of USA Commercial Mortgage and Diversified
                          Trust Deed Fund documents.

2/26/2007   Harvick, C.   Discuss document imaging, storage and retention            0.2       85.00
                          with M. Tucker.

2/26/2007   Harvick, C.   Discuss with Mesirow the indexing process and              0.4      170.00
                          location of documents.

2/26/2007   Tucker, M.    Discuss document imaging, storage and retention            0.2      105.00
                          with C. Harvick.

2/27/2007   Belt, D.      Review D&O application, make notes of items                0.7      332.50
                          requiring research and determine Diversified Trust
                          Deed Fund organizational structure in order to answer
                          application questions.

2/27/2007   Belt, D.      Review boxed documents at USA Commercial                   4.2    1,995.00
                          Mortgage for Diversified Trust Deed Fund litigation
                          related matters. Discuss issue of non-debtor financial
                          records subject to protective order with debtor
                          advisors.

2/27/2007   Belt, D.      Call with K. Batka regarding D&O quote from XL             0.4      190.00
                          Specialties.

2/27/2007   Harvick, C.   Meeting with L. Weese to discuss Diversified Trust         0.4      170.00
                          Deed Fund access to information post effective date.

2/27/2007   Tucker, M.    Plan administration for transition.                        1.2      630.00

2/27/2007   Tucker, M.    Review and comment on issues on stay brief in              1.1      577.50
                          various e-mails.

2/27/2007   Tucker, M.    Discuss D&O coverage issues with D. Belt.                  0.2      105.00

2/27/2007   Tucker, M.    Review several e-mails on timing of Diversified Trust      0.4      210.00
                          Deed Fund tax returns; follow up with Debtor.

2/27/2007   Tucker, M.    Review debt acquisition appeal.                            0.1       52.50

2/28/2007   Belt, D.      Follow up with counsel regarding obtaining board           0.3      142.50
                          resolution for authorized signatories on Diversified
                          Trust Deed Fund bank account and complete
                          signature card forms.



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Date        Consultant        Description                                          Hours          Fees

Plan and Other Restructure Related Work
2/28/2007   Harvick, C.       Review of Stay Reply and related e-mails.              0.4         170.00

2/28/2007   Harvick, C.       Review Oppositions to Stay and related e-mails.        0.5         212.50

2/28/2007   Harvick, C.       Review e-mails regarding the moving of servers and     0.3         127.50
                              hardware from USA Commercial Mortgage.

2/28/2007   Tucker, M.        Review First Deed Trust objection to Stay.             0.4         210.00

2/28/2007   Tucker, M.        Review status of scanning Beadle documents.            0.1          52.50

2/28/2007   Tucker, M.        Review e-mail on LPG motion.                           0.2         105.00

2/28/2007   Tucker, M.        Review e-mails on Appellee bried and subrogation       0.3         157.50
                              issues and impact to Diversified Trust Deed Fund.

Total for Plan and Other Restructure Related Work:                                 141.8      66,142.00

Grand Total                                                                        556.7   $256,191.50




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                              USA Capital Diversified Trust Deed Fund
                                         Summary Exhibit D
                             Professional Expenses Incurred by Category
                             For the Period of 2/1/2007 through 2/28/2007
Consultant        Date Incurred Description of Expense                                           Amount

Administrative
Administration        2/1/2007     Court Call from 1/29/07 for Tree Moss Partners.                  25.00

Administration        2/1/2007     CourtCall - Tree Moss Partners.                                  25.00

Administration        2/13/2007    Photocopies - Data Services, LLC DBA The                      3,780.27
                                   Litigation Document Group coping service.

Administration        2/23/2007    Fed Ex CDs to E. Madden at Diamond McCarthy                      10.98

Administration        2/23/2007    Fed Ex CDs to J. Herman at Orrick, Herrington,                    6.80
                                   Sutcliffe

Administration        2/23/2007    Postage FedEx delivery to Phoenix of Kinko's                     64.53
                                   copies in Las Vegas.

Administration        2/23/2007    Purchased Services - Kinko's copying of 2,050                   773.10
                                   pages.

Total for Administrative:                                                                        4,685.68

Airfare
Belt, D.              2/7/2007     Air Fare - daytrip from Phoenix, AZ to Las Vegas,               250.30
                                   NV on 2/7/07.

Harvick, C.           2/7/2007     Air Fare - daytrip from Phoenix, AZ to Las Vegas,               250.30
                                   NV on 2/7/07.

Tucker, M.            2/13/2007    Air Fare - daytrip from Phoenix, AZ to Las Vegas,               268.48
                                   NV on 2/13/07.

Tucker, M.            2/15/2007    Air Fare from Las Vegas, NV on 2/15/07 to Phoenix,              125.90
                                   AZ. One way ticket.

Tucker, M.            2/15/2007    Air Fare from Phoenix, AZ on 2/15/07 to Las Vegas,              160.40
                                   NV. one way ticket.

Harvick, C.           2/19/2007    Air Fare from Phoenix, AZ on 2/19/07 to Las Vegas,              252.30
                                   NV returned on 2/20/07.

Tucker, M.            2/19/2007    Air Fare from Phoenix, AZ on 2/19/07 to Las Vegas,              232.00
                                   NV returned on 2/20/07.

Tucker, M.            2/26/2007    Air Fare - daytrip from Phoenix, AZ to Las Vegas,               252.31
                                   NV on 2/26/07.

Harvick, C.           2/26/2007    Air Fare from Phoenix, AZ on 2/26/07 to Las Vegas,              252.30
                                   NV returned on 2/27/07.

Belt, D.              2/28/2007    Air Fare from Phoenix, AZ on 2/25/07 to Las Vega,               281.30
                                   NV returned on 2/28/07.



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Consultant           Date Incurred Description of Expense                                        Amount

Total for Airfare:                                                                               2,325.59

Lodging
Harvick, C.             2/19/2007    Hotel in Las Vegas, NV for 1 Night, Check In                  178.97
                                     2/19/07 - Check Out 2/20/07 two rooms charged -
                                     one for C. Harvick and one for M. Tucker.

Harvick, C.             2/27/2007    Hotel in Las Vegas, NV for 1 Night, Check In                  173.31
                                     2/26/07 - Check Out 2/27/07.

Belt, D.                2/28/2007    Hotel in Las Vegas, NV for 3 Nights, Check In                 646.79
                                     2/25 - Check Out 2/28.

Total for Lodging:                                                                                 999.07

Meals
Belt, D.                2/7/2007     Dinner.                                                        14.38

Belt, D.                2/7/2007     Lunch with C. Harvick.                                         28.00

Harvick, C.             2/7/2007     Dinner.                                                        14.00

Harvick, C.             2/10/2007    Lunch.                                                         14.00

Tucker, M.              2/13/2007    Lunch with Geoff Berman, USACM Trustee; M.                     61.51
                                     Tucker; Marc Levinson, Esq.; Susan Freeman, Esq.

Tucker, M.              2/13/2007    Dinner.                                                        16.49

Tucker, M.              2/15/2007    Dinner.                                                        17.30

Tucker, M.              2/19/2007    Dinner with C. Harvick and J. Hermann, M.                     341.22
                                     Levinson and B. Edmondson attorneys from Orrick.

Tucker, M.              2/20/2007    Breakfast                                                      19.39

Belt, D.                2/25/2007    Dinner.                                                        24.93

Belt, D.                2/26/2007    Lunch with C. Harvick.                                         24.00

Belt, D.                2/26/2007    Breakfast.                                                     14.98

Harvick, C.             2/26/2007    Breakfast.                                                      4.31

Tucker, M.              2/26/2007    Dinner.                                                        16.29

Belt, D.                2/27/2007    Breakfast with C. Harvick and J. Hermann.                      54.00

Harvick, C.             2/27/2007    Dinner.                                                         5.43

Belt, D.                2/28/2007    Breakfast.                                                     12.00

Total for Meals:                                                                                   682.23

Other
Tucker, M.              2/20/2007    Line access fee at hotel.                                       1.00




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Consultant         Date Incurred Description of Expense                                          Amount

Total for Other:                                                                                     1.00

Transportation
Harvick, C.           2/7/2007     PHX airport parking - 1 day.                                     20.00

Belt, D.              2/7/2007     PHX airport parking - 1 day.                                     20.00

Harvick, C.           2/7/2007     Rental Car - 2/7/07 through 2/7/07 in Las Vegas,                 32.98
                                   NV.

Harvick, C.           2/10/2007    268 Miles - round trip - Phoenix, AZ to Sedona, AZ              129.98
                                   to meet M. Zito.

Tucker, M.            2/13/2007    14 miles - home to airport and return.                            6.79

Tucker, M.            2/13/2007    PHX airport parking - 1 day.                                     20.00

Tucker, M.            2/15/2007    14 miles from home to airport and return.                         6.79

Tucker, M.            2/15/2007    Taxi - airport to court.                                         23.00

Tucker, M.            2/15/2007    PHX airport parking - 1 day.                                     20.00

Harvick, C.           2/20/2007    Rental Car - 2/18/07 through 2/20/07 in Las Vegas,               32.27
                                   NV.

Tucker, M.            2/20/2007    14 miles - home to airport and return.                            6.79

Harvick, C.           2/20/2007    PHX airport parking - 2 days.                                    40.00

Harvick, C.           2/20/2007    24 miles - home to airport and return.                           11.64

Tucker, M.            2/20/2007    PHX airport parking - 2 days.                                    40.00

Belt, D.              2/25/2007    Taxi - Las Vegas airport to hotel.                               20.00

Belt, D.              2/25/2007    20 Miles to airport from home on Sunday.                          9.70

Tucker, M.            2/26/2007    PHX airport parking - 1 day.                                     20.00

Belt, D.              2/26/2007    Taxi - hotel to USA Commercial Mortgage offices.                 17.00

Tucker, M.            2/26/2007    Taxi - airport to court.                                         24.00

Tucker, M.            2/26/2007    Taxi - Court to airport.                                         26.00

Tucker, M.            2/26/2007    14 miles - home to airport and return.                            6.79

Harvick, C.           2/27/2007    24 miles - home to airport and return.                           11.64

Harvick, C.           2/27/2007    Rental car expenses 2/26/07-2/27/07 in Las Vegas                154.40
                                   to attend client meetings.

Harvick, C.           2/27/2007    PHX airport - 2 day parking.                                     40.00

Belt, D.              2/28/2007    PHX airport parking- 3 days.                                     60.00

Belt, D.              2/28/2007    Taxi - hotel to airport                                          12.00




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Consultant       Date Incurred Description of Expense                             Amount

Total for Transportation:                                                           811.77

Grand Total                                                                      $9,505.34




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